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    UNITED STATES BANKRUPTCY COURT
    SOUTHERN DISTRICT OF NEW YORK


    In re                                                                Chapter 11

    SIZMEK INC., et al.,                                                 Case No. 19-10971 (SMB)

                     Debtors.1                                           (Jointly Administered)


                            SCHEDULE OF ASSETS AND LIABILITIES FOR
                                 SIZMEK TECHNOLOGIES, INC.




1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, include: Sizmek Inc. (4624); Point Roll, Inc. (3173); Sizmek DSP, Inc. (2319); Sizmek Technologies,
      Inc. (6402); Wireless Artist LLC (0302); Wireless Developer, Inc. (9686); X Plus One Solutions, Inc. (8106);
      and X Plus Two Solutions, LLC (4914). The location of the Debtors’ service address for purposes of these
      chapter 11 cases is: 401 Park Avenue South, Fifth Floor, New York, NY 10016.
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    UNITED STATES BANKRUPTCY COURT
    SOUTHERN DISTRICT OF NEW YORK


    In re                                                                Chapter 11

    SIZMEK INC., et al.,                                                 Case No. 19-10971 (SMB)

                     Debtors.2                                           (Jointly Administered)


                     GLOBAL NOTES AND STATEMENTS OF LIMITATIONS,
                      METHODOLOGY, AND DISCLAIMERS REGARDING
                        THE DEBTORS’ SCHEDULES OF ASSETS AND
                       LIABILITIES AND STATEMENTS OF FINANCIAL
                                        AFFAIRS


         Sizmek Inc. (“Sizmek”) and certain of its direct and indirect subsidiaries are debtors and
debtors in possession (collectively, the “Debtors”), are filing their respective Schedules of Assets
and Liabilities (each, a “Schedule,” and collectively, the “Schedules”) and Statements of Financial
Affairs (each, a “Statement” and collectively, the “Statements”) in the United States Bankruptcy
Court for the Southern District of New York (the “Bankruptcy Court”) pursuant to section 521
of title 11 of the United States Code (the “Bankruptcy Code”) and Rule 1007 of the Federal Rules
of Bankruptcy Procedure (the “Bankruptcy Rules”).

        These Global Notes and Statements of Limitations, Methodology, and Disclaimer
Regarding the Debtors’ Schedules and Statements (collectively, the “Global Notes”) pertain to,
and are incorporated in, and constitute an integral part of the Schedules and Statements. The Global
Notes are in addition to the specific notes set forth below with respect to the Schedules and
Statements (the “Specific Notes,” and, together with the Global Notes, the “Notes”). These Notes
should be referred to, and referenced in connection with, any review of the Schedules and
Statements.

        The Debtors’ management prepared the Schedules and Statements with the assistance of
their advisors and other professionals. The Schedules and Statements are unaudited and subject to
adjustment. In preparing the Schedules and Statements, the Debtors relied on financial data derived
from their books and records that was available at the time of preparation. The Debtors’
management team and advisors have made reasonable efforts to ensure that the Schedules and
Statements are as accurate and complete as possible under the circumstances; however, subsequent

2
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, include: Sizmek Inc. (4624); Point Roll, Inc. (3173); Sizmek DSP, Inc. (2319); Sizmek Technologies,
      Inc. (6402); Wireless Artist LLC (0302); Wireless Developer, Inc. (9686); X Plus One Solutions, Inc. (8106);
      and X Plus Two Solutions, LLC (4914). The location of the Debtors’ service address for purposes of these
      chapter 11 cases is: 401 Park Avenue South, Fifth Floor, New York, NY 10016.
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information or discovery may result in material changes to the Schedules and Statements and errors
or omissions may exist. Notwithstanding any such discovery, new information, or errors or
omissions, the Debtors do not undertake any obligation or commitment to update the Schedules
and Statements.

                The Debtors reserve all rights to amend or supplement the Schedules and
Statements from time to time, in all respects, as may be necessary or appropriate, including the
right to dispute or otherwise assert offsets or defenses to any claim reflected on the Schedules
and Statements as to amount, liability, classification, identity of Debtor, or to otherwise
subsequently designate any claim as “disputed,” “contingent,” or “unliquidated.” Furthermore,
nothing contained in the Schedules, Statements, or Notes shall constitute a waiver of any of the
Debtors’ rights or an admission of any issues, including issues with respect to their chapter 11
cases, involving objections to claims, substantive consolidation, equitable subordination,
defenses, characterization or re-characterization of contracts and leases, assumption or rejection
of contracts and leases under the provisions of chapter 3 of the Bankruptcy Code, causes of
action arising under the provisions of chapter 5 of the Bankruptcy Code, or any other applicable
state or federal laws.

               Sascha Wittler has signed the Schedules and Statements. Mr. Wittler is the Chief
Financial Officer of Sizmek and an authorized signatory for the Debtors. In reviewing and
signing the Schedules and Statements, Mr. Wittler necessarily has relied upon the efforts,
statements and representations of the Debtors’ advisors and various personnel employed by the
Debtors. Mr. Wittler has not (and could not have) personally verified the accuracy of each
statement and representation contained in the Schedules and Statements, including statements
and representations concerning amounts owed to creditors, classification of such amounts and
creditor addresses.
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                        Global Notes and Overview of Methodology

       The Schedules, Statements, and Notes should not be relied upon by any persons for
information relating to current or future financial conditions, events, or performance of
any of the Debtors or their affiliates.

1.    Description of the Cases. On March 29, 2019, (the “Petition Date”), each of the
      Debtors commenced a voluntary case under chapter 11 of the Bankruptcy Code. The
      Debtors are authorized to operate their businesses and manage their properties as debtors
      in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. On April 3,
      2019, the Bankruptcy Court entered an order authorizing the joint administration of the
      chapter 11 cases pursuant to Bankruptcy Rule 1015(b) [Docket No. 28]. Notwithstanding
      the joint administration of the Debtors’ cases for procedural purposes, each Debtor has
      filed its own Schedules and Statements. On April 17, 2019 the United States Trustee for
      the Southern District of New York appointed the official committee of unsecured
      creditors pursuant to section 1102(a)(1) of the Bankruptcy Code.

2.    Basis of Presentation. For financial reporting purposes, the Debtors generally prepare
      consolidated financial statements, which include information for Sizmek. The Schedules
      and Statements are unaudited and reflect the Debtors’ reasonable efforts to report certain
      financial information of each Debtor on an unconsolidated basis. These Schedules and
      Statements neither purport to represent financial statements prepared in accordance with
      Generally Accepted Accounting Principles in the United States (“GAAP”), nor are they
      intended to be fully reconciled with the financial statements of each Debtor.

      The Debtors used reasonable efforts to attribute the assets and liabilities, certain required
      financial information, and various cash disbursements to each particular Debtor entity.
      Because the Debtors’ accounting systems, policies, and practices were developed for
      consolidated reporting purposes rather than for reporting by legal entity, however, it is
      possible that not all assets and liabilities have been recorded with the correct legal entity
      on the Schedules and Statements. Accordingly, the Debtors reserve all rights to
      supplement and amend the Schedules and Statements in this regard, including with
      respect to reallocation of assets or liabilities to any particular entity.

3.    Reporting Date. Unless otherwise noted in the specific responses, the Schedules and
      Statements generally reflect the Debtors’ books and records as of the close of business on
      March 28, 2019.

4.    Current Values. The assets and liabilities of each Debtor are listed on the basis of the
      book value of the asset or liability in the respective Debtor’s accounting books and
      records. Unless otherwise noted, the carrying value on the Debtor’s books, rather than the
      current market value, is reflected in the Schedules and Statements.

5.    Confidentiality. There may be instances where certain information was not included due
      to the nature of an agreement between a Debtor and a third party, concerns about the
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      confidential or commercially sensitive nature of certain information, or to protect the
      privacy of an individual.

6.    Consolidated Entity Accounts Payable and Disbursement Systems. As described in
      the Cash Management Motion, the Debtors utilize an integrated, centralized cash
      management system, in the ordinary course of business, to collect, concentrate, and
      disburse funds generated by their operations (the “Cash Management System”). The
      Debtors maintain a consolidated disbursements system to pay operating and
      administrative expenses through disbursement accounts.

      In the ordinary course of business, the Debtors maintain a business relationship with each
      other, which result in intercompany receivables and payables (the “Intercompany
      Claims”) arising from intercompany transactions (the “Intercompany Transactions”).
      [As set forth more fully in the Cash Management Motion, the primary Intercompany
      Transactions giving rise to Intercompany Claims include expenses paid and cash
      transferred among the Debtors. The Debtors track all Intercompany Transactions in their
      accounting system, which concurrently are recorded on the applicable Debtors’ balance
      sheets. The Debtors’ accounting system requires that all general-ledger entries be
      balanced at the legal-entity level. Unless otherwise noted, the Debtors have reported the
      aggregate net intercompany balances among the Debtors as assets on Schedule A/B or as
      liabilities on Schedule E/F, as appropriate.

7.    Accuracy. The financial information disclosed herein was not prepared in accordance
      with federal or state securities laws or other applicable non-bankruptcy law or in lieu of
      complying with any periodic reporting requirements thereunder. Persons and entities
      trading in or otherwise purchasing, selling, or transferring the claims against or equity
      interests in the Debtors should evaluate this financial information in light of the purposes
      for which it was prepared. The Debtors are not liable for and undertake no responsibility
      to indicate variations from securities laws or for any evaluations of the Debtors based on
      this financial information or any other information.

8.    Net Book Value of Assets. In many instances, current market valuations are not
      maintained by or readily available to the Debtors. As such, wherever possible, net book
      values as of the Petition Date are presented. When necessary, the Debtors have indicated
      that the value of certain assets is “unknown,” “undetermined,” or “N/A.” Amounts
      ultimately realized may vary materially from net book value (or other value so ascribed).
      Accordingly, the Debtors reserve all rights to amend, supplement, and adjust the asset
      values set forth in the Schedules and Statements. As applicable, fixed assets and
      leasehold improvement assets that fully have been depreciated or amortized, or were
      expensed for GAAP accounting purposes, have no net book value, and, therefore, are not
      included in the Schedules and Statements.

9.    Undetermined Amounts. Claim amounts that could not readily be quantified by the
      Debtors are scheduled as “unliquidated,” “undetermined,” “unknown,” or “N/A.” The
      description of an amount as “unliquidated,” “undetermined,” “unknown,” or “N/A” is not
      intended to reflect upon the materiality of the amount.
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10.   Excluded Assets and Liabilities. The Debtors believe that they have identified, but did
      not necessarily value, all material categories of assets and liabilities in the Schedules. The
      Debtors have excluded the following items from the Schedules and Statements: certain
      accrued liabilities, certain prepaid and other current assets considered to have de minimis
      or no market value, and certain other immaterial assets and liabilities.

11.   Totals. All totals that are included in the Schedules and Statements represent totals of all
      the known amounts included in the Schedules and Statements and exclude items
      identified as “unknown” or “undetermined.” If there are unknown or undetermined
      amounts, the actual totals may be materially different from the listed totals.

12.   Currency. All amounts shown in the Schedules and Statements are in U.S. Dollars,
      unless otherwise indicated.

13.   Payment of Prepetition Claims Pursuant to First Day Orders. Pursuant to a number
      of motions filed on the first day of the Debtors’ Chapter 11 Cases (the “First Day
      Motions”), the Debtors have sought authority to pay certain outstanding prepetition
      payables pursuant to a bankruptcy or other court order. The Bankruptcy Court entered
      certain orders authorizing the Debtors to pay certain of the outstanding prepetition
      payables they sought to pay under the First Day Motions (collectively, the “First Day
      Orders”). As such, outstanding liabilities may have been reduced by any court-approved
      postpetition payments made on prepetition payables or by any anticipated court-approved
      postpetition payments authorized on behalf of prepetition payables. To the extent the
      Debtors pay any amount of the claims listed in the Schedules and Statements pursuant to
      any orders entered by the Bankruptcy Court, the Debtors reserve all rights to amend or
      supplement the Schedules and Statements or to take other action, such as filing claims
      objections, as is necessary and appropriate to avoid overpayment or duplicate payments
      for liabilities. Nothing contained herein should be deemed to alter the rights of any party
      in interest to contest a payment made pursuant to an order of the Bankruptcy Court where
      such order preserves the right to contest.

14.   Other Paid Claims. To the extent the Debtors have reached any postpetition settlement
      with a vendor or other creditor, the terms of such settlement will prevail, supersede
      amounts listed in the Debtors’ Schedules and Statements, and shall be enforceable by all
      parties, subject to Bankruptcy Court approval.

15.   Property, Plant and Equipment. Expenditures for additions, renewals and
      improvements are capitalized at cost. Depreciation is computed on a straight-line method
      based on the estimated useful lives of the related assets. The estimated useful lives of the
      major classes of depreciable assets are 3 years for IT hardware, software, deployment,
      machinery and equipment and approximately 6.67 to 14 years for office equipment,
      furniture and fixtures. Leasehold improvements are depreciated over the shorter of the
      remaining useful life or remaining lease term of the lease. Expenditures for repairs and
      maintenance are charged to operations as incurred. The Debtors periodically evaluate
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      whether current events or circumstances indicate that the carrying value of its depreciable
      assets may not be recoverable.

16.   Debtors’ Reservation of Rights. Nothing contained in the Schedules, Statements, or
      Notes shall constitute a waiver of any of the Debtors’ rights, including with respect to
      certain issues related to these chapter 11 cases, including, but not limited to, the
      following:

                 a. Any failure to designate a claim listed on the Debtors’ Schedules and
                    Statements as “disputed,” “contingent,” or “unliquidated” does not
                    constitute an admission by the Debtors that such amount is not “disputed,”
                    “contingent,” or “unliquidated.” The Debtors reserve the right to dispute
                    and to assert setoff rights, counterclaims, and defenses to any claim
                    reflected on the Schedules as to amount, liability, and classification, and to
                    otherwise subsequently designate any claim as “disputed,” “contingent,”
                    or “unliquidated.”

                 b. Notwithstanding that the Debtors have made reasonable efforts to
                    correctly characterize, classify, categorize, or designate certain claims,
                    assets, executory contracts, unexpired leases, and other items reported in
                    the Schedules and Statements, the Debtors nonetheless may have
                    improperly characterized, classified, categorized, or designated certain
                    items. The Debtors thus reserve all rights to recharacterize, reclassify,
                    recategorize, or redesignate items reported in the Schedules and
                    Statements at a later time as is necessary and appropriate.

                 c. The listing of a claim (i) on Schedule D as “secured,” (ii) on Schedule E/F
                    (Part 1) as “priority,” (iii) on Schedule E/F (Part 2) as “unsecured,” or (iv)
                    listing a contract or lease on Schedule G as “executory” or “unexpired”
                    does not constitute an admission by the Debtors of the legal rights of the
                    claimant, or a waiver of the Debtors’ rights to recharacterize or reclassify
                    such claim or contract pursuant to a schedule amendment, claim objection
                    or otherwise. Moreover, although the Debtors may have scheduled claims
                    of various creditors as secured claims for informational purposes, no
                    current valuation of the Debtors’ assets in which such creditors may have
                    a security interest has been undertaken. Except as provided in an order of
                    the Bankruptcy Court, the Debtors reserve all rights to dispute and
                    challenge the secured nature or amount of any such creditor’s claims or
                    the characterization of the structure of any transaction, or any document or
                    instrument related to such creditor’s claim.

                 d. In the ordinary course of their business, the Debtors lease equipment and
                    other assets from certain third-party lessors for use in the daily operation
                    of its business. The Debtors have made commercially reasonable efforts to
                    list any such leases in Schedule G, and any current amounts due under
                    such leases that were outstanding as of the Petition Date are listed on
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                  Schedule E/F. Except as otherwise noted herein, the property subject to
                  any such leases is not reflected in Schedule A/B as either owned property
                  or assets of the Debtors, and neither is such property or assets of third
                  parties within the control of the Debtors. Nothing in the Schedules is or
                  shall be construed as an admission or determination as to the legal status
                  of any lease (including whether any lease is a true lease or a financing
                  arrangement), and the Debtors reserve all rights with respect to any of
                  such issues, including the recharacterization thereof.

               e. The claims of individual creditors for, among other things, goods,
                  products, services or taxes are listed as the amounts entered on the
                  Debtors’ books and records and may not reflect credits, allowances or
                  other adjustments due from such creditors to the Debtors. The Debtors
                  reserve all of their rights with regard to such credits, allowances and other
                  adjustments, including the right to assert claims objections and/or setoffs
                  with respect to the same.

               f. The Debtors’ businesses are part of a complex enterprise. Although the
                  Debtors have exercised reasonable efforts to ensure the accuracy of the
                  Schedules and Statements, they nevertheless may contain errors and
                  omissions. The Debtors hereby reserve all of their rights to dispute the
                  validity, status, and enforceability of any contracts, agreements, and leases
                  identified in the Debtors’ Schedules and Statements, and to amend and
                  supplement the Schedules and Statements as necessary.

               g. The Debtors further reserve all of their rights, claims, and causes of action
                  with respect to the contracts and agreements listed on the Schedules and
                  Statements, including, but not limited to, the right to dispute and challenge
                  the characterization or the structure of any transaction, document, and
                  instrument related to a creditor’s claim.

               h. The Debtors exercised reasonable efforts to locate and identify guarantees
                  and other secondary liability claims (the “Guarantees”) in their executory
                  contracts, unexpired leases, secured financings, debt instruments, and
                  other agreements. Where such Guarantees have been identified, they are
                  included in the relevant Schedules and Statements. Guarantees embedded
                  in the Debtors’ executory contracts, unexpired leases, secured financings,
                  debt instruments, and other agreements may have been omitted
                  inadvertently. Thus, the Debtors reserve their rights to amend and
                  supplement the Schedules and Statements to the extent that additional
                  Guarantees are identified. In addition, the Debtors reserve the right to
                  amend the Schedules and Statements to recharacterize and reclassify any
                  such contract or claim.

               i. Listing a contract or lease on the Debtors’ Schedules and Statements shall
                  not be deemed an admission that such contract is an executory contract,
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                     such lease is an unexpired lease, or that either necessarily is a binding,
                     valid, and enforceable contract. The Debtors reserve the right to assert that
                     any contract listed on the Debtors’ Schedules and Statements does not
                     constitute an executory contract within the meaning of section 365 of the
                     Bankruptcy Code, and the right to assert that any lease so listed does not
                     constitute an unexpired lease within the meaning of section 365 of the
                     Bankruptcy Code.

                 j. Exclusion of certain intellectual property should not be construed to be an
                    admission that such intellectual property rights have been abandoned, have
                    been terminated or otherwise expired by their terms, or have been assigned
                    or otherwise transferred pursuant to a sale, acquisition, or other
                    transaction. Conversely, inclusion of certain intellectual property should
                    not be construed to be an admission that such intellectual property rights
                    have not been abandoned, have not been terminated or otherwise expired
                    by their terms, or have not been assigned or otherwise transferred pursuant
                    to a sale, acquisition, or other transaction.

17.   Global Notes Control. In the event that the Schedules or Statements differ from any of
      the foregoing Global Notes, the Global Notes shall control.

Specific Notes with Respect to the Debtors’ Schedules

1.    Schedule A/B

          a. A/B.3. As set forth more fully in the Cash Management Motion, the Debtors
             conduct their operations through a network of bank accounts as outlined in the
             Cash Management Systems chart attached to the Cash Management Motion as
             Exhibit 1. The values provided for in Schedule A/B, Item 3 for each account for a
             given Debtor reflects the ending cash balance of such account as of the close of
             business on March 28, 2019.

          b. A/B.11. Schedule A/B Item 11 identifies the gross accounts receivable balance as
             of the Petition Date.

          c. A/B.60-65. The value of the Debtors’ intellectual property is contingent and
             unliquidated. The Debtors’ intellectual property has not been appraised by a
             professional and is listed at net book value.

          d. A/B.72. The Debtors’ file taxes on a consolidated basis under the non-Debtor
             entity Solomon Acquisition Corp. As such, the Net Operating Loss amounts listed
             in the schedule reflect the consolidated Net Operating Loss amounts available to
             Solomon Acquisition Corp. and have not been allocated to its subsidiaries.

          e. A/B.70–77. Despite exercising their commercially reasonable efforts to identify
             all known assets, the Debtors may not have listed all of their causes of action or
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             potential causes of action against third parties as assets in their Schedules. Unless
             otherwise noted on specific responses, items reported on Schedule A/B are
             reported from the Debtors’ books and records as of the Petition Date. Assets that
             remain unreconciled but otherwise exist within the Debtors’ books and records
             have been captured as “Unreconciled Assets” and are subject to further review. In
             the ordinary course of their businesses, the Debtors may have accrued, or may
             subsequently accrue, certain rights to counterclaims, cross-claims, credits, rebates,
             or refunds with their customers and suppliers or potential warranty claims against
             their suppliers. The Debtors reserve all of their rights with respect to any claims
             and causes of action they may have. Neither these Notes nor the Schedules shall
             be deemed a waiver of any such claims or causes of action or to prejudice or
             impair the assertion thereof in any way. All known litigation claims against the
             Debtors are listed on Schedule F. Where a Debtor holds a positive net
             intercompany balance, such amount has been listed on Item 77, Schedule A/B for
             such Debtor. Similarly, where a Debtor holds a negative net intercompany
             balance, such amount has been listed on Schedule E/F, Part 2 for such Debtor.

2.    Schedule D. The claims listed on Schedule D, as well as the guarantees of those claims
      listed on Schedule H, arose and were incurred on various dates; a determination of the
      date upon which each claim arose or was incurred would be unduly burdensome and cost
      prohibitive. Accordingly, not all such dates are included for each claim. To the best of the
      Debtors’ knowledge, all claims listed on Schedule D arose or were incurred before the
      Petition Date.

      Except as otherwise agreed to or stated pursuant to a stipulation, agreed order, or general
      order entered by the Bankruptcy Court that is or becomes final, the Debtors and their
      estates reserve their right to dispute and challenge the validity, perfection, or immunity
      from avoidance of any lien purported to be granted or perfected in any specific asset to a
      creditor listed on Schedule D of any Debtor and, subject to the foregoing limitations, note
      as follows: (a) although the Debtors may have scheduled claims of various creditors as
      secured claims for informational purposes, no current valuation of the Debtors’ assets in
      which such creditors may have a lien has been undertaken; (b) the Debtors reserve all
      rights to dispute and challenge the secured nature of any creditor’s claim or the
      characterization of the structure of any such transaction or any document or instrument
      related to such creditor’s claim; and (c) the descriptions provided on Schedule D only are
      intended to be a summary. Reference to the applicable loan agreements and related
      documents is necessary for a complete description of the collateral and the nature, extent,
      and priority of any liens.

      Detailed descriptions of the Debtors’ prepetition debt structure and descriptions of
      collateral relating to the debt contained on Schedule D are contained in the Declaration of
      Sascha Wittler, Chief Financial Officer of Sizmek Inc., (I) in Support of Chapter 11
      Petitions and First Day Pleadings, and (II) Pursuant to Local Rule 1007-2 [Docket No.
      13], and the Supplemental Declaration of Sascha Wittler, Chief Financial Officer of
      Sizmek, Inc. (I) in Support of Chapter 11 Petitions and First Day Pleadings, and (II)
      Pursuant to Local Rule 1007-2 [Docket No. 54] (together, the “Declaration”).
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3.    Schedule E/F

         a. (Part 1). The claims listed on Schedule E/F (Part 1) arose and were incurred on
            various dates; a determination of the date upon which each claim arose or was
            incurred would be unduly burdensome and cost prohibitive. Accordingly, not all
            such dates are included for each claim. To the best of the Debtors’ knowledge, all
            claims listed on Schedule E/F arose or were incurred before the Petition Date.

            The Debtors have not listed certain wage, or wage-related obligations that the
            Debtors have paid pursuant to First Day Orders on Schedule E/F. The Bankruptcy
            Court, however, has not yet granted all of the relief sought by the First Day
            Motions. Additional hearings are scheduled before the Bankruptcy Court to
            consider the further relief sought under the First Day Motions. As such,
            outstanding liabilities may have been reduced by any court-approved postpetition
            payments made on prepetition payables or by any anticipated court-approved
            postpetition payments authorized on behalf of prepetition payables. Where and to
            the extent these liabilities have been satisfied or are anticipated to be satisfied,
            they are not listed in the Schedules and Statements unless otherwise noted. To the
            extent the Debtors later pay any amount of the claims listed in the Schedules and
            Statements pursuant to any orders entered by the Bankruptcy Court, the Debtors
            reserve all rights to amend or supplement the Schedules and Statements or to take
            other action, such as filing claims objections, as is necessary and appropriate to
            avoid overpayment or duplicate payments for liabilities. Further, to the extent the
            Debtors do not obtain the relief pursuant to the First Day Motions that they
            anticipate, the Debtors will amend these Schedules and Statements. The Debtors
            reserve the right to dispute or challenge whether creditors listed on Schedule E/F
            are entitled to priority status pursuant to sections 503 and/or 507 of the
            Bankruptcy Code.


            Claims owing to various taxing authorities to which the Debtors potentially may
            be liable are included on the Debtors’ Schedule E/F. Certain of such claims,
            however, may be subject to ongoing audits and/or the Debtors otherwise are
            unable to determine with certainty the amount of the remaining claims listed on
            Schedule E/F.

            The Debtors reserve the right to assert that any claim listed on Schedule E/F does
            not constitute a priority claim under the Bankruptcy Code.

         b. (Part 2). The Debtors have exercised their commercially reasonable efforts to list
            all liabilities on Schedule E/F of each applicable Debtor. As a result of the
            Debtors’ consolidated operations, however, the reader should review Schedule
            E/F for all Debtors in these cases for a complete understanding of the unsecured
            debts of the Debtors. Additional lines have been added as "Other Unreconciled
            Amounts" which are subject to further review. The Debtors reserve their rights
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             with respect to the reallocation of such amounts to the appropriate counterparty.
             Certain creditors listed on Schedule E/F may owe amounts to the Debtors, and, as
             such, the Debtors may have valid setoff and recoupment rights with respect to
             such amounts. The amounts listed on Schedule E/F may not reflect any such right
             of setoff or recoupment, and the Debtors reserve all rights to assert the same and
             to dispute and challenge any setoff and/or recoupment rights that may be asserted
             against the Debtors by a creditor. Additionally, certain creditors may assert
             mechanic’s, materialman’s, or other similar liens against the Debtors for amounts
             listed on Schedule E/F. The Debtors reserve their rights to dispute and challenge
             the validity, perfection, and immunity from avoidance of any lien purported to be
             perfected by a creditor listed on Schedule E/F of any Debtor. In addition, certain
             claims listed on Schedule E/F (Part 2) may be entitled to priority under 11 U.S.C.
             § 503(b)(9).

             The Debtors have made reasonable efforts to include all unsecured creditors on
             Schedule E/F including, but not limited to, occupancy creditors, consultants, and
             other service providers. The Debtors have also included trade creditors and taxing
             authorities on Schedule E/F, some of whose claims have been satisfied, in whole
             or in part, pursuant to the First Day Orders. Notwithstanding the foregoing, the
             Debtors believe that there are instances where creditors have yet to provide proper
             invoices for prepetition goods or services. Additionally, certain bank maintenance
             fees have not been listed in Schedule E/F for the Debtors where determining and
             allocating such amounts among the Debtors would be unduly burdensome.
             Moreover, Schedule E/F does not include certain balances including deferred
             liabilities, accruals, or general reserves. Such amounts are, however, reflected on
             the Debtors’ books and records as required in accordance with GAAP. Such
             accruals primarily represent general estimates of liabilities and do not represent
             specific claims as of the Petition Date. The Debtors have made reasonable efforts
             to include as contingent, unliquidated and/or disputed the claim of any party not
             included on the Debtors’ open accounts payable that is associated with an account
             that has an accrual or receipt not invoiced.

             The Debtors may pay additional claims listed on Schedule E/F during these
             Chapter 11 Cases pursuant to these and other orders of the Bankruptcy Court and
             the Debtors reserve all of their rights to update Schedule E/F to reflect such
             payments or to modify the claims register to account for the satisfaction of such
             claim. Additionally, Schedule E/F does not include potential rejection damage
             claims, if any, of the counterparties to executory contracts and unexpired leases
             that have been, or may be, rejected.

4.    Schedule G. Although reasonable efforts have been made to ensure the accuracy of
      Schedule G regarding executory contracts and unexpired leases (collectively, the
      “Agreements”), review is ongoing and inadvertent errors, omissions or overinclusion
      may have occurred. The Debtors may have entered into various other types of
      Agreements in the ordinary course of their businesses, such as indemnity agreements,
      supplemental agreements, and amendments/letter agreements that may not be set forth in
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      Schedule G. In addition, as described herein, certain non-disclosure agreements and/or or
      other confidential information have been omitted, as well as certain short-term purchase
      and sales orders given their large number and transitory nature. In addition, the remaining
      terms for certain agreements have been listed at their original or amended terms where
      available, while in other cases the terms have been listed as “N/A”.

      Omission of an agreement from Schedule G does not constitute an admission that such
      omitted agreement is not an executory contract or unexpired lease. Schedule G may be
      amended at any time to add any omitted Agreements. Likewise, the listing of an
      Agreement on Schedule G does not constitute an admission that such Agreement is an
      executory contract or unexpired lease or that such Agreement was in effect on the
      Petition Date or is valid or enforceable. The Agreements listed on Schedule G may have
      expired or may have been modified, amended, or supplemented from time to time by
      various amendments, restatements, waivers, estoppel certificates, letter and other
      documents, instruments and agreements that may not be listed on Schedule G. Executory
      agreements that are oral in nature have not been included in Schedule G. Any and all of
      the Debtors’ rights, claims and causes of action with respect to the Agreements listed on
      Schedule G are hereby reserved and preserved, and as such, the Debtors hereby reserve
      all of their rights to (i) dispute the validity, status, or enforceability of any Agreements set
      forth on Schedule G, (ii) dispute or challenge the characterization of the structure of any
      transaction, or any document or instrument related to a creditor’s claim, including, but
      not limited to, the Agreements listed on Schedule G and (iii) to amend or supplement
      such Schedule as necessary. Certain of the Agreements listed on Schedule G may have
      been entered into on behalf of more than one of the Debtors. Additionally, the specific
      Debtor obligor(s) to certain of the Agreements may not have been specifically ascertained
      in every circumstance. In such cases, the Debtors have made reasonable efforts to
      identify the correct Debtor’s Schedule G on which to list the Agreement and, where a
      contract party remained uncertain, such Agreement may have been listed on a different
      Debtor’s Schedule G.

5.    Schedule H. The Debtors are party to various debt agreements, which were executed by
      the Debtors. The obligations of guarantors under prepetition, secured credit agreements
      are noted on Schedule H for each individual debtor. In the ordinary course of their
      businesses, the Debtors are involved in pending or threatened litigation and claims arising
      out of the conduct of their businesses. Some of these matters may involve multiple
      plaintiffs and defendants, some or all of whom may assert cross-claims and counter-
      claims against other parties. Because such claims are listed on each Debtor’s Schedule
      E/F and Statement 7, as applicable, they have not been set forth individually on Schedule
      H. Further, the Debtors may not have identified certain guarantees that are embedded in
      the Debtors’ executory contracts, unexpired leases, secured financings, debt instruments
      and other such agreements. No claim set forth on the Schedules and Statements of any
      Debtor is intended to acknowledge claims of creditors that are otherwise satisfied or
      discharged by other Debtors or non-Debtors. To the extent there are guarantees connected
      with any joint ventures to which the Debtors may be a party, such agreements are not
      identified in the Debtors’ Schedules. The Debtors reserve all of their rights to amend the
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      Schedules to the extent that additional guarantees are identified or such guarantees are
      discovered to have expired or be unenforceable.

Specific Notes with Respect to the Debtors’ Statements


1.    Statement 1. Gross revenues reported for Sizmek DSP Inc. include revenues earned
      since the acquisition of the business on September 6, 2017, until the petition date.

2.    Statement 2. Upfront payment amounts received from subleases, proceeds from sale of
      assets, bank interest income, dividend / capital gains, and intercompany interest are gross
      amounts, including any amounts withheld for associated tax liabilities. The Debtors’
      “YTD 2017” and “YTD 2018” reflects revenues between January 1st and December 31st
      of each respective year. “YTD 3/2019” reflects revenues between January 1st and March
      28th of 2019.

3.    Statement 3. The obligations of the Debtors are primarily paid by and through Sizmek
      Technologies, Inc. and Sizmek DSP Inc., notwithstanding the fact that certain obligations
      may be obligations of other Debtor entities.

      The payments disclosed in Statement 3 are based on payments made by the Debtors with
      payment dates from December 28, 2018 to March 28, 2019. The actual dates that cash
      cleared the Debtors’ bank accounts may differ based on the form of payment. The
      Debtors’ accounts payable system does not include the corresponding payment clear
      dates and compiling this data would have required a significant manual review of
      individual bank statements. It is expected, however, that many payments included in
      Statement 3 have payment clear dates that are the same as payment dates (e.g., wires and
      other forms of electronic payments).

      The responses to Statement 3 exclude certain disbursements or transfers to creditors
      otherwise listed in Statement 9, Statement 11, and payments made on account of certain
      employee obligations including, but not limited to, medical costs and business expense
      reimbursements.

4.    Statement 4. The Debtors reserve all rights with respect to the determination or status of
      a person as an “insider” as defined in section 101(13) of the Bankruptcy Code. For more
      information regarding each Debtor’s officers and directors, see Statement 28 and
      Statement 29.

      The payroll-related amount shown in response to this question, which includes, among
      other things, salary, wage, additional compensation, is a gross amount that does not
      include reductions for amounts including employee tax or benefit withholdings. In the
      ordinary course of business, certain corporate or personal credit cards may be utilized by
      insiders to pay for travel and business-related expenses for various other individuals
      employed by the Debtors. As it would be unduly burdensome for the Debtors to analyze
      which credit card expenses related to those incurred on behalf of an insider as opposed to
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      another employee (or the Debtors), the Debtors have listed the aggregate amount paid for
      such expenses. Amounts still owed to creditors will appear on the Schedules for each of
      the Debtors.

5.    Statement 7. Actions described in response to Statement 7 include, but are not limited to,
      employee claims and patent infringement claims.

      The Debtors reserve all of their rights and defenses with respect to any and all listed
      lawsuits and administrative proceedings. The listing of such suits and proceedings shall
      not constitute an admission by the Debtors of any liabilities or that the actions or
      proceedings were correctly filed against the Debtors or any affiliates of the Debtors. The
      Debtors also reserve their rights to assert that neither the Debtors nor any affiliate of the
      Debtors is an appropriate party to such actions or proceedings. Further, the Debtors
      operate in numerous jurisdictions and in the ordinary course of business may have
      disputed property valuations/tax assessments. The Debtors have not listed such disputes
      on Statement 7.

6.    Statement 11. The Debtors have used reasonable efforts to identify payments for
      services of any entities who provided consultation concerning debt counseling or
      restructuring services, relief under the Bankruptcy Code or preparation of a petition in
      bankruptcy within one year immediately preceding the Petition Date, which are identified
      in Sizmek’s response to Statement 11. Additional information regarding the Debtors’
      retention of professional service firms is more fully described in the individual retention
      applications for those firms and related orders.

      Additionally, DeWeese & Associates, PLLC, Osborne Clarke LLP, DLA Piper UK, LLP,
      and others provided prepetition services to the Debtors in a capacity wholly unrelated to
      these Chapter 11 Cases. Out of an abundance of caution, Statement 11 includes all
      amounts paid by the Debtors to each of those professionals within 1 year before the
      Petition Date, regardless of the nature of services such professionals provided.

7.    Statement 25. The Debtors have used reasonable efforts to identify the beginning and
      ending dates of all businesses in which the Debtors were a partner or owned five percent
      or more of the voting or equity securities within the six years immediately preceding the
      Petition Date. In certain instances, however, the dissolution dates of certain entities that
      are no longer in existence were not readily available and, therefore, are not included in
      Statement 25. All such entities were either merged with other entities owned by the
      Debtors or were dissolved prior to the Petition Date.

8.    Statement 26(d). The Debtors provided financial statements in the ordinary course of
      business to certain parties for business, statutory, credit, financing and other reasons.
      Recipients have included, financial institutions, investment banks, debtholders, and
      certain of their advisors. Financial statements have also been provided to other parties as
      requested.
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9.    Statement 30. Any and all known disbursements to insiders of the Debtors have been
      listed in the response to Statement 4. The items listed under Statement 30 incorporate by
      reference any items listed under Statement 4, and vice versa.
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 Fill in this information to identify the case:

 Debtor name: Sizmek Technologies, Inc.

 United States Bankruptcy for the District of: Southern New York
                                                                                                                       Check if this is an
 Case number: 19-10974
                                                                                                                       amended ling


O cial Form 206Sum
Summary of Assets and Liabilities for Non-Individuals
 Part 1:   Summary of Assets
 1. Schedule A/B: Assets - Real and Personal Property (O cial Form 206A/B)
  1a. Real property:                                                                                 $0.00
          Copy line 88 from Schedule A/B
  1b. Total personal property:                                                                       $138,580,182.21
          Copy line 91A from Schedule A/B
  1c. Total of all property:                                                                         $138,580,182.21
          Copy line 92 from Schedule A/B

 Part 2:   Summary of Liabilities

 2. Schedule D: Creditors Who Have Claims Secured by Property (O cial Form 206D)                     $168,866,432.00
 Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D

 3. Schedule E/F: Creditors Who Have Unsecured Claims (O cial Form 206E/F)
  3a. Total claim amounts of priority unsecured claims:                                              $3,155.24
          Copy the total claims from Part 1 from line 5a of Schedule E/F
  3b. Total amount of claims of nonpriority amount of unsecured claims:                              $67,981,506.08
          Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F


 4. Total Liabilities                                                                                $236,851,093.32
 Lines 2 + 3a + 3b
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 Fill in this information to identify the case:

 Debtor name: Sizmek Technologies, Inc.

 United States Bankruptcy for the District of: Southern New York
                                                                                                                                                            Check if this is an
 Case number: 19-10974
                                                                                                                                                            amended ling


O cial Form 206A/B
Schedule A/B: Assets — Real and Personal Property 12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all property in which the debtor
holds rights and powers exercisable for the debtor's own bene t. Also include assets and properties which have no book value, such as fully depreciated assets or assets that
were not capitalized. In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Of cial Form
206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the debtor’s name and case number
(if known). Also identify the form and line number to which the additional information applies. If an additional sheet is attached, include the amounts from the attachment in
the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a xed asset schedule or depreciation schedule,
that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor’s interest, do not deduct the value of secured claims. See the
instructions to understand the terms used in this form.

 Part 1:     Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

           No. Go to Part 2.
           Yes. Fill in the information below.


  All cash or cash equivalents owned or controlled by the debtor                                                                         Current value of debtor’s interest


 2. Cash on hand

 2.1                                                                                                                                    $785.69




 3. Checking, savings, money market, or nancial brokerage accounts (Identify all)
 Name of institution (bank or brokerage rm)                           Type of account                     Last 4 digits of account
                                                                                                          #

 3.1        JP MORGAN CHASE                                                 CHECKING                      1955                          $193,691.95



 3.2        JP MORGAN CHASE                                                 CHECKING                      0146                          $10,944.65



 3.3        JP MORGAN CHASE                                                 CHECKING                      7698                          $689.69




 4. Other cash equivalents (Identify all)
 4.1                                                                                                                                    $0.00




 5. Total of Part 1
 Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.
                                                                                                                                          $206,111.98
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Part 2:     Deposits and prepayments
6. Does the debtor have any deposits or prepayments?

          No. Go to Part 3.
          Yes. Fill in the information below.



                                                                                                                             Current value of debtor’s interest
7. Deposits, including security deposits and utility deposits
Description, including name of holder of deposit


7.1         SEE ATTACHED SCHEDULE AB7 EXHIBIT                                                                               $320,453.4




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
Description, including name of holder of prepayment


8.1         SEE ATTACHED SCHEDULE AB8 EXHIBIT                                                                               $1,729,515.00




9. Total of Part 2
Add lines 7 through 8. Copy the total to line 81.
                                                                                                                             $2,049,968.40



Part 3:     Accounts receivable
10. Does the debtor have any accounts receivable?

          No. Go to Part 4.
          Yes. Fill in the information below.



                                                                                                                             Current value of debtor’s interest
11. Accounts receivable
11a.       90 days old or        13,951,204.41                           - 0.00                                = ........   $13,951,204.41
           less:                  face amount
                                                                                                                  
                                                                          doubtful or uncollectible accounts



11b.       Over 90 days old:     657,175.26                              - 86,853.62                           = ........   $570,321.64
                                  face amount                                                                     
                                                                          doubtful or uncollectible accounts




12. Total of Part 3
Current value on lines 11a + 11b = line 12. Copy the total to line 82.
                                                                                                                             $14,521,526.05



Part 4:     Investments
13. Does the debtor own any investments?

          No. Go to Part 5.
          Yes. Fill in the information below.
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                                                                                       Valuation method used for current       Current value of debtor’s interest
                                                                                       value
14. Mutual funds or publicly traded stocks not included in Part 1
Name of fund or stock:


14.1                                                                                                                           $0.00




15. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
partnership, or joint venture
Name of entity:                                                        % of
                                                                       ownership:

15.1                                                                            %                                              $0.00




16. Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
Describe:


16.1                                                                                                                           $0.00




17. Total of Part 4
Add lines 14 through 16. Copy the total to line 83.
                                                                                                                                $0.00



Part 5:     Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

          No. Go to Part 6.
          Yes. Fill in the information below.



 General description                                       Date of      Net book value of            Valuation method          Current value of debtor’s interest
                                                           the last     debtor's interest            used for current value
                                                           physical     (Where available)
                                                           inventory
19. Raw materials
                                                                        $                                                      $0.00




20. Work in progress
                                                                        $                                                      $0.00




21. Finished goods, including goods held for resale
                                                                        $                                                      $0.00




22. Other inventory or supplies
                                                                        $                                                      $0.00
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23. Total of Part 5
                                                                     Pg 21 of 50
Add lines 19 through 22. Copy the total to line 84.
                                                                                                                                   $0.00




24. Is any of the property listed in Part 5 perishable?

          No
          Yes



25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was led?

          No
          Yes       Book value   $                              Valuation method                                       Current value    $




26. Has any of the property listed in Part 5 been appraised by a professional within the last year?

          No
          Yes


Part 6:     Farming and shing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and shing-related assets (other than titled motor vehicles and land)?

          No. Go to Part 7.
          Yes. Fill in the information below.



 General description                                                      Net book value of           Valuation method             Current value of debtor’s interest
                                                                          debtor's interest           used for current value
                                                                          (Where available)
28. Crops—either planted or harvested
                                                                         $                                                        $0.00




29. Farm animals Examples: Livestock, poultry, farm-raised sh
                                                                         $                                                        $0.00




30. Farm machinery and equipment (Other than titled motor vehicles)
                                                                         $                                                        $0.00




31. Farm and shing supplies, chemicals, and feed
                                                                         $                                                        $0.00




32. Other farming and shing-related property not already listed in Part 6
                                                                         $                                                        $0.00




33. Total of Part 6
Add lines 28 through 32. Copy the total to line 85.
                                                                                                                                   $0.00
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34. Is the debtor a member of an agricultural cooperative?
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           No
           Yes. Is any of the debtor’s property stored at the cooperative?
                          No
                          Yes



35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was led?

          No
          Yes           Book     $                                 Valuation method                                                Current value      $
                        value


36. Is a depreciation schedule available for any of the property listed in Part 6?

          No
          Yes



37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

          No
          Yes


Part 7:     O ce furniture, xtures, and equipment; and collectibles
38. Does the debtor own or lease any o ce furniture, xtures, equipment, or collectibles?

          No. Go to Part 8.
          Yes. Fill in the information below.



 General description                                                             Net book value of                Valuation method                Current value of debtor’s interest
                                                                                 debtor's interest                used for current value
                                                                                 (Where available)
39. O ce furniture
39.1       SEE ATTACHED SCHEDULE AB39 EXHIBIT                                   $ 324,559.15                    NET BOOK VALUE                   $324,559.15




40. O ce xtures
40.1        SEE ATTACHED SCHEDULE AB40 EXHIBIT                                  $ 440,602.75                     NET BOOK VALUE                  $440,602.75




41. O ce equipment, including all computer equipment and communication systems equipment and software
41.1        SEE ATTACHED SCHEDULE AB41 EXHIBIT                                  $ 2,644,427.45                   NET BOOK VALUE                  $2,644,427.45




42. Collectibles Examples: Antiques and gurines; paintings, prints, or other artwork; books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card collections;
other collections, memorabilia, or collectibles

42.1                                                                            $                                                                $0.00




43. Total of Part 7
Add lines 39 through 42. Copy the total to line 86.
                                                                                                                                                  $3,409,589.35
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44. Is a depreciation schedule available for any of the property listed in Part 7?

          No
          Yes



45. Has any of the property listed in Part 7 been appraised by a professional within the last year?

          No
          Yes


Part 8:     Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

          No. Go to Part 9.
          Yes. Fill in the information below.



 General description                                                        Net book value of              Valuation method              Current value of debtor’s interest
 Include year, make, model, and identi cation numbers (i.e., VIN,           debtor's interest              used for current value
 HIN, or N-number)                                                          (Where available)
47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles
47.1                                                                       $                                                            $0.00




48. Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors, oating homes, personal watercraft, and shing vessels
48.1                                                                       $                                                            $0.00




49. Aircraft and accessories
49.1                                                                       $                                                            $0.00




50. Other machinery, xtures, and equipment (excluding farm machinery and equipment)
50.1                                                                       $ 27,647.82                    NET BOOK VALUE                $27,647.82
 SEE ATTACHED SCHEDULE AB50 EXHIBIT




51. Total of Part 8.
Add lines 47 through 50. Copy the total to line 87.
                                                                                                                                         $27,647.82




52. Is a depreciation schedule available for any of the property listed in Part 8?

          No
          Yes



53. Has any of the property listed in Part 8 been appraised by a professional within the last year?

          No
          Yes
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Part 9:     Real Property                                             Pg 24 of 50
54. Does the debtor own or lease any real property?

          No. Go to Part 10.
          Yes. Fill in the information below.



55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
  Description and location of property                       Nature and extent of        Net book value of            Valuation method            Current value of
  Include street address or other description such as        debtor’s interest in        debtor's interest            used for current value      debtor’s interest
  Assessor Parcel Number (APN), and type of                  property                    (Where available)
  property (for example, acreage, factory, warehouse,
  apartment or o ce building), if available.

55.1                                                                                   $                                                         $0.00




56. Total of Part 9.
Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.
                                                                                                                                    $0.00




57. Is a depreciation schedule available for any of the property listed in Part 9?

          No
          Yes



58. Has any of the property listed in Part 9 been appraised by a professional within the last year?

          No
          Yes


Part 10:        Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

          No. Go to Part 11.
          Yes. Fill in the information below.



 General description                                                       Net book value of           Valuation method             Current value of debtor’s interest
                                                                           debtor's interest           used for current value
                                                                           (Where available)
60. Patents, copyrights, trademarks, and trade secrets
60.1                                                                      $                                                        $0.00




61. Internet domain names and websites
61.1                                                                      $                                                        $0.00




62. Licenses, franchises, and royalties
62.1                                                                      $                                                        $0.00
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63. Customer lists, mailing lists, or other compilations
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63.1                                                                      $                                                          $0.00




64. Other intangibles, or intellectual property
64.1                                                                      $                                                          $0.00




65. Goodwill
65.1                                                                      $                                                          $0.00




66. Total of Part 10.
Add lines 60 through 65. Copy the total to line 89.
                                                                                                                                      $0.00




67. Do your lists or records include personally identi able information of customers (as de ned in 11 U.S.C. §§ 101(41A) and 107)?

       No
       Yes



68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?

       No
       Yes



69. Has any of the property listed in Part 10 been appraised by a professional within the last year?

       No
       Yes


Part 11:     All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
Include all interests in executory contracts and unexpired leases not previously reported on this form.

       No. Go to Part 12.
       Yes. Fill in the information below.



                                                                                                                                     Current value of debtor’s interest
71. Notes receivable
Description (include name of obligor)
71.1                                                                            -                                    =              $0.00
                                             total face amount                           doubtful or uncollectible
                                                                                         amount




72. Tax refunds and unused net operating losses (NOLs)
Description (for example, federal, state, local)
72.1                                                                                              Tax year                           $0.00
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73. Interests in insurance policies or annuities

73.1                                                                                                                             $0.00




74. Causes of action against third parties (whether or not a lawsuit has been led)
 74.1                                                                                                                            $0.00

 Nature of Claim

 Amount requested                  $




75. Other contingent and unliquidated claims or causes of action of every nature, including counterclaims of the debtor and rights to set off claims
 75.1                                                                                                                            $0.00

 Nature of Claim

 Amount requested                  $




76. Trusts, equitable or future interests in property
76.1                                                                                                                             $0.00




77. Other property of any kind not already listed Examples: Season tickets, country club membership
77.1     SEE ATTACHED SCHEDULE AB77 EXHIBIT                                                                                      $118,365,338.61




78. Total of Part 11.
Add lines 71 through 77. Copy the total to line 90.
                                                                                                                                   $118,365,338.61




79. Has any of the property listed in Part 11 been appraised by a professional within the last year?

        No
        Yes
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Part 12:     Summary
 In Part 12 copy all of the totals from the earlier parts of the form.

Type of property                                                             Current value of         Current value of real
                                                                             personal property        property

 80. Cash, cash equivalents, and nancial assets. Copy line 5, Part 1.        $206,111.98




 81. Deposits and prepayments. Copy line 9, Part 2.                          $2,049,968.40




 82. Accounts receivable. Copy line 12, Part 3.                              $14,521,526.05




 83. Investments. Copy line 17, Part 4.                                      $0.00




 84. Inventory. Copy line 23, Part 5.                                        $0.00




 85. Farming and shing-related assets. Copy line 33, Part 6.                 $0.00




 86. O ce furniture, xtures, and equipment; and collectibles. Copy           $3,409,589.35
 line 43, Part 7.



 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.               $27,647.82




 88. Real property. Copy line 56, Part 9.                                                           $0.00




 89. Intangibles and intellectual property.. Copy line 66, Part 10.          $0.00




 90. All other assets. Copy line 78, Part 11.                                $118,365,338.61




 91. Total. Add lines 80 through 90 for each column                   91a.                                       91b.
                                                                              $138,580,182.21                            $0.00




 92. Total of all property on Schedule A/B. Lines 91a + 91b = 92.
                                                                                                                                 $138,580,182.21
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                           Deposits, including security deposits and utility deposits
                                                                                   Current Value of
                        Description, Including Name of Holder of Deposit          Debtor's Interest ($)
   7.1 1920MCKINNEY: 1920MCKINNEY SECURUTY DEPOSIT TILL 1/31/2019 -3 O                       $20,450.00
   7.2 BANYAN STREET : RECLASS - RENT DEPOSIT FROM LT TO ST ATLANTA OFFIC                    $22,243.83
   7.3 BARUCH TRIAD: AREP TRIAD LLC SECURITY DEPOSIT&5.17 LEASE PREPAYM                      $23,246.67
       BRE HH PROPERTY OWNER LLC DBA BRE HYDRA HOLDCO LLC: HINES LA SECURITY
   7.4 DEPOSIT LEASE EXTENDED 07/2021                                                       $50,454.69
   7.5 BRYEMERE HOLDING LLC: SECURITY DEPOSIT REDUCTION                                     $50,000.00
   7.6 BURO GROUP LLC: MIAMI ROLL DEPOSIT (ORG LEASE TERMS 05.15-01.16)                      $1,599.00
   7.7 DISCOVERY: A/P - DISCOVERY - DEPOSIT FOR DISCOVERY - FSA + C                         $30,340.00
   7.8 EZPAWN: SECURITY DEPOSIT EZPAWN 11/20-11/2025                                        $22,990.00
   7.9 FRIEDMAN: CHICAGO OFFICE DEPOSIT (01/2015-05/2023)                                   $31,062.41
  7.10 FRIEDMAN: FRIEDMAN CHICAGO OFFICE-10.2017 SECURITY DEPOSIT                              $385.00
  7.11 FRIEDMAN: FRIEDMAN PROPERTIES- CHICAGO OFFICE-10.15 RENT/CHI                            $313.32
  7.12 FRIEDMAN: FRIEDMAN PROPERTIES- CHICAGO OFFICE-10.18 RENT-M&I                            $385.00
  7.13 FRIEDMAN: FRIEDMAN -SECURITY DEPOSIT(REVISED LEASE AMENDMENT                          $3,583.34
  7.14 FRIEDMAN: SECURITY DEPOSIT                                                              $385.00
  7.15 JP MORGAN: SECURITY DEPOSIT FOR NEW CHICAGO OFFICE 233 BUILD                         $44,986.62
  7.16 PEACHTREE: PEACHTREE OFFICE SECURITY DEPOSIT TILL 12/2017                             $1,675.00
  7.17 PEACHTREE: PEACHTREE -SECURITY DEPOSIT LEASE RENEWAL TILL JAN                           $390.00
  7.18 PEACHTREE: PEACHTREE SECURUTY DEPOSIT TILL 1/31/2019-CONTRACT                         $2,525.00
  7.19 SANSOME HOLDINGS: SF OFFICE-SECURITY DEPOSIT ( 4/1/14-5/31/19)                        $8,934.25
  7.20 TELECOM: TW TELECOM-SECURITY DEPOSIT(WILL BE REFUNDED AFTER                           $4,504.27
                                                                         TOTAL:            $320,453.40




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                                                 Schedule    AB8
            Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
                                                                                                    Current Value of
          Name of Holder of Prepayment                    Description of Prepayment                Debtor's Interest ($)
  8.1   401 PARK AVENUE                  PPD 401 PARK REAL ESTATE TAX 7/2018 - 6/2019                        $13,548.00
  8.2   AIR BNB                          PPD CC SARAH 01.19 ER#30276 - EVENTDATE 3/7/19                          $482.00
  8.3   ALMONDNET INC                    PO 206826 PATENT LICENCE INFRINGEMENT SETTLEMENT                   $173,319.00
  8.4   ANAPLAN INC.                     PO 210608 ANAPLAN SUBSCRIPTION FEE 7/5/18-07/04/19                  $17,742.00
  8.5   AON RISK INSURANC                PPO 211860 MANAGE LIABILITY POLICY-3/1/19-3/1/20                   $124,656.00
  8.6   BEZEQ INTERNATIONAL LTD          PPD PO 211165 1/19-12/21: JUNIPER SUPPORT-NJ,LA,LA                  $26,668.00
  8.7   BEZEQ INTERNATIONAL LTD          PPD PO 211166 1/19-12/21: CISCO SMARTNET-AT&T NJ                    $20,952.00
  8.8   CALLIDUS                         PPD PO 210402 HEROES SOFT SKILLS CONTENT 7/18--7/1                    $2,581.00
  8.9   CODA ADVISORY                    PPD PO211478 M&I MARCH 2019 DIRECTORS FEE RETAINER                      $968.00
 8.10   CODA ADVISORY                    PPD PO211791 M&I APRIL 2019 DIRECTORS FEE RETAINER                  $10,000.00
 8.11   CREDITSAFE USA                   PPD PO 210436 7.18-7.19 YEARLY SUBSCRIPTION CREDIT                    $6,042.00
 8.12   CT CORPORATION                   PPD PO 210284 - CT ASSURANCE COMPLIANCE 7/18-6/19                     $4,645.00
 8.13   DIGIDAY                          PPD PO 211611 5/19: PROGRAMMATIC MARKETING SUMMI                    $44,000.00
 8.14   DIGIDAY                          PPD PO 211611 9/19: PROGRAMMATIC MARKETING SUMMIT                   $13,000.00
 8.15   DOCU-SIGN                        PPD PO 210056&210150 CONTRACT 6/12/18-6/11/19                       $11,188.00
 8.16   EMARKETER INC.                   PPD PO 211491 2019 EMARKETER PRO ANNUAL SUBSCRIPTON                 $15,192.00
 8.17   EMC CORPORATION                  PPD PO 210050 SAN SWITCHES NJ 6/18/18-6/17/19                         $2,011.00
 8.18   ENTIT SOFTWARE LLC               PPD PO 211543/713 24/1/19-1/20: VERTICA SW SUPPORT                 $606,436.00
 8.19   EUGENE I. DAVIS                  PPD PO211480 M&I MARCH 2019 DIRECTORS FEE RETAINER                      $968.00
 8.20   EUGENE I. DAVIS                  PPD PO211792 M&I APRIL 2019 DIRECTORS FEE RETAINER                  $10,000.00
 8.21   EXCHANGEWIRE LIMITED             PPD PO 211362 ATS GLOBAL/EMEA EVENTS 4/5/9/11 2019                  $50,200.00
 8.22   FORRESTER RESEARCH INC.          PO 211772 2019 ANNUAL ANALYST MEMBERSHIP                            $38,884.00
 8.23   IAB INTERACTIVE BUREAU , IN      PPD PO 211499 6/18-6/19 GDPR COMMIT GROUP                             $2,621.00
 8.24   IAB TECHNOLOGY                   PPD - IAB TECHNO - PO 211174 Q1 IAB 2019 US MEM                         $744.00
 8.25   IBM NETEZZA MAINTENANCE & S      IBM NETEZZA MAINTENANCE & SUPPOR 3.19                              $125,134.00
 8.26   INFINIDAT                        PPD PO 211100 1Y RENEWAL-IBOX 1286-NJ-2019/2020                     $36,811.00
 8.27   JOBVITE, INC.                    PPD PO 209489 Q1/19 ERECRUITMENT SERVICE AND SOFT                       $455.00
 8.28   LINKEDIN CORPORATION             PPD PO 209629 12/18-3/19: RECRUITING ACCESS                             $567.00
 8.29   LINKEDIN CORPORATION             PPD PO 211527 H1 SPONSORED UPDATES TALENT SOLUTION                    $7,742.00
 8.30   MARKETO, INC                     PPD PO 210152 CONSOLIDATED MARKETO SUB Q1 19                            $509.00
 8.31   MATRIX                           PPD PO 211019 2019 HP BLADE C7000 RENEWALS-NJ01                     $11,049.00
 8.32   MICROSOFT STORE                  POINTROLL MICROSTRATEGY MAINTENANCE 3.19                            $43,600.00
 8.33   NEW RELIC, INC.                  PPD PO 210507 2-4/19: ANNUAL AGREEMENT                                $2,430.00
 8.34   OPSGENIE, INC.                   PPD PO 210154 PRIMARY OPERATIONS PAGINGL 7.18-7.19                    $6,194.00
 8.35   OPSGENIE, INC.                   PPD PO 210673 PRIMARY PAGING TOOL 9.19.18-6.29.19                     $3,217.00
 8.36   QUICKBASE, INC.                  PPD PO 211595 QUICKBASE SUBSCRIPTION 1/19 - 12/1                   $105,068.00
 8.37   SABA SOFTWARE INC                PPD PO 211423 11/18-11/19: SABA SOFTWARE SUBS                         $9,967.00
 8.38   SCYLLADB INC                     PPD PO 210364 SCYLLADB ENTERPRISE SUBS 12/18-5/19                   $70,766.00
 8.39   SIGMA                            PPD PO 211197 1.1-06.30.19 PARTNERCHOICE 4HR PARTS                    $2,944.00
 8.40   SIGMA                            PPD PO209815 MERAKIMX100 5YR LICENSE 5/2018-4/2023                  $10,431.00
 8.41   SIGMA TECHNOLOGY                 PPD PO 211250 01.01-12.31.19 8X5XNBD HARDWARE SUPP                  $15,305.00
 8.42   SUCCESSFACTORS                   PPD PO 209743 04/2018-04/2019 SUBSCRIPTION                            $6,097.00
 8.43   SYSTRAN                          PPD PO 209786 ANNUAL MAINTENANCE FROM 6.18-5/19                       $3,806.00
 8.44   TAG TRUSTWORTHY                  PPD TAG MEMBERSHIP & CERTIFICATIONS FOR 2019                        $18,952.00
 8.45   TALDOR COMMUNICATION LTD         PPD PO 206512 SUPPORT -3 YEARS 12.16-11.19                          $10,769.00
 8.46   TECHMIND LTD                     PPD PO 207030 CA NETWORK MAINTENANCE-PRODUCT 2019                   $11,029.00
 8.47   TERASKY LTD.                     PPD PO 211087 01.01-06.30.19 EMC NETWORKER - SUPP                     $3,578.00
 8.48   VARIOUS                          CC CHARGES                                                            $6,476.00
 8.49   VERTICA                          PO 209250/1 SW-LICENSE FROM 3. 19                                     $1,266.00
 8.50   VERTICA                          PO 209250/1 SW-LICENSE FROM 4. 19                                   $12,383.00
 8.51   WHETHER OR KNOT                  PPD PO 211635 SERVICE FEE Q1 2019                                        $97.00
 8.52   ZOOM INFORMATION                 PPD PO 210498 ZOOMINFO 8.14.18-8.14.19 SUBSCRIP                       $6,026.00
                                                                                            TOTAL:        $1,729,515.00




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                                                     Office Furniture

                                                                 Net Book Value of Valuation Method Used Current Value of
                          General Description                    Debtor's Interest    for Current Value    Debtor's Interest
 39.1   OFFICE FURNITURE GENERAL                                              $0.00  NET BOOK VALUE                     $0.00
 39.2   OFFICE FURNITURE GENERAL, LA OFFICE FURNITURE                   $18,950.31   NET BOOK VALUE               $18,950.31
 39.3   OFFICE FURNITURE GENERAL, NEW TX OFFICE FURNITURE              $142,114.94   NET BOOK VALUE             $142,114.94
 39.4   OFFICE FURNITURE GENERAL, NY OFFICE FURNITURE                  $161,775.93   NET BOOK VALUE             $161,775.93
 39.5   OFFICE FURNITURE GENERAL, SF OFFICE FURNITURE                         $0.00  NET BOOK VALUE                     $0.00
 39.6   OFFICE FURNITURE GENERAL, TX OFFICE FURNITURE                     $1,717.97  NET BOOK VALUE                $1,717.97
                                                       TOTAL:          $324,559.15                  TOTAL:      $324,559.15




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                                                             Office Fixtures


                                                                                Net Book Value of Valuation Method Used Current Value of
                                  General Description                           Debtor's Interest    for Current Value   Debtor's Interest
  40.1   LEASEHOLD IMPROVEMENTS GENERAL, ATL LEASEHOLD IMPROVEMENTS                         $60.59  NET BOOK VALUE                  $60.59
  40.2   LEASEHOLD IMPROVEMENTS GENERAL, KOP LEASEHOLD IMPROVEMENTS                          $0.00  NET BOOK VALUE                    $0.00
  40.3   LEASEHOLD IMPROVEMENTS GENERAL, LA LEASEHOLD IMPROVEMENTS                           $0.00  NET BOOK VALUE                    $0.00
  40.4   LEASEHOLD IMPROVEMENTS GENERAL, LA LEASEHOLD IMPROVEMENTS                       $7,502.61  NET BOOK VALUE               $7,502.61
  40.5   LEASEHOLD IMPROVEMENTS GENERAL, NEW KOP LEASEHOLD IMPROVMENTS                 $25,013.01   NET BOOK VALUE              $25,013.01
  40.6   LEASEHOLD IMPROVEMENTS GENERAL, NEW TX LEASEHOLD IMPROVEMENTS                $166,729.51   NET BOOK VALUE            $166,729.51
  40.7   LEASEHOLD IMPROVEMENTS GENERAL, NY LEASEHOLD IMPROVEMENTS                    $241,297.03   NET BOOK VALUE            $241,297.03
  40.8   LEASEHOLD IMPROVEMENTS GENERAL, SF LEASEHOLD IMPROVEMENTS                           $0.00  NET BOOK VALUE                    $0.00
                                                                     TOTAL:           $440,602.75                 TOTAL:      $440,602.75




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                               Office equipment, including all computer equipment and communication systems equipment and software

                                                                                   Net Book Value of                                                   Current Value of
                                        General Description                        Debtor's Interest         Valuation Method Used for Current Value   Debtor's Interest
         COMPUTER & SOFTWARE GENERAL, COMPUTERS AND PERIPHERAL EQUIPMENT - OPEN
  40.1   BALANCE                                                                                $0.00                  NET BOOK VALUE                              $0.00
         COMPUTER & SOFTWARE GENERAL, COMPUTERS AND PERIPHERAL EQUIPMENT - OPEN
  40.2   BALANCE, NY COMPUTERS AND PERIPHERAL EQUIPMENT - OPEN BALAN                            $0.00                  NET BOOK VALUE                              $0.00
  40.3   COMPUTER & SOFTWARE GENERAL, DEPLOYMENT - OPEN BALANCE                                 $0.00                  NET BOOK VALUE                              $0.00
         COMPUTER & SOFTWARE GENERAL, DEPLOYMENT - OPEN BALANCE, NY DEPLOYMENT -
  40.4   OPEN BALANCE                                                                           $0.00                  NET BOOK VALUE                              $0.00
  40.5   COMPUTER & SOFTWARE GENERAL, DEPLOYMENT HARDWARE - SERVERS                             $0.00                  NET BOOK VALUE                              $0.00
         COMPUTER & SOFTWARE GENERAL, DEPLOYMENT HARDWARE - SERVERS, ATL
  40.6   DEPLOYMENT SERVERS                                                                     $0.00                  NET BOOK VALUE                              $0.00
         COMPUTER & SOFTWARE GENERAL, DEPLOYMENT HARDWARE - SERVERS, LA DEPLOYMENT
  40.7   SERVERS                                                                           $51,992.44                  NET BOOK VALUE                         $51,992.44
         COMPUTER & SOFTWARE GENERAL, DEPLOYMENT HARDWARE - SERVERS, NEW TX
  40.8   DEPLOYMENT SERVERS                                                                     $0.00                  NET BOOK VALUE                              $0.00
         COMPUTER & SOFTWARE GENERAL, DEPLOYMENT HARDWARE - SERVERS, NJ DEPLOYMENT
  40.9   SERVERS                                                                          $315,528.63                  NET BOOK VALUE                        $315,528.63
         COMPUTER & SOFTWARE GENERAL, DEPLOYMENT HARDWARE - SERVERS, NJ DEPLOYMENT
 40.10   SERVERS                                                                              $671.50                  NET BOOK VALUE                            $671.50
         COMPUTER & SOFTWARE GENERAL, DEPLOYMENT HARDWARE - SERVERS, NJ PEER
 40.11   DEPLOYMENT SERVERS                                                                     $0.00                  NET BOOK VALUE                              $0.00
         COMPUTER & SOFTWARE GENERAL, DEPLOYMENT HARDWARE - SERVERS, NY
 40.12   DEPLOYMENT SERVERS                                                                 $8,247.03                  NET BOOK VALUE                          $8,247.03
 40.13   COMPUTER & SOFTWARE GENERAL, DEPLOYMENT SOFTWARE GENERAL                               $0.00                  NET BOOK VALUE                              $0.00
         COMPUTER & SOFTWARE GENERAL, DEPLOYMENT SOFTWARE GENERAL, CA DEPLOYMENT
 40.14   SOFTWARE                                                                       $2,100,048.39                  NET BOOK VALUE                      $2,100,048.39
         COMPUTER & SOFTWARE GENERAL, DEPLOYMENT SOFTWARE GENERAL, NJ DEPLOYMENT
 40.15   SOFTWARE                                                                          $31,590.12                  NET BOOK VALUE                         $31,590.12
         COMPUTER & SOFTWARE GENERAL, DEPLOYMENT SOFTWARE GENERAL, NY DEPLOYMENT
 40.16   SOFTWARE                                                                               $0.00                  NET BOOK VALUE                              $0.00
 40.17   COMPUTER & SOFTWARE GENERAL, IT HARDWARE GENERAL                                       $0.00                  NET BOOK VALUE                              $0.00
 40.18   COMPUTER & SOFTWARE GENERAL, IT HARDWARE GENERAL, ATL IT HARDWARE                  $5,700.94                  NET BOOK VALUE                          $5,700.94
 40.19   COMPUTER & SOFTWARE GENERAL, IT HARDWARE GENERAL, ATL IT HARDWARE                  $1,258.03                  NET BOOK VALUE                          $1,258.03
 40.20   COMPUTER & SOFTWARE GENERAL, IT HARDWARE GENERAL, CAD IT HARDWARE                      $0.00                  NET BOOK VALUE                              $0.00
 40.21   COMPUTER & SOFTWARE GENERAL, IT HARDWARE GENERAL, EW IT HARDWARE                       $0.00                  NET BOOK VALUE                              $0.00
 40.22   COMPUTER & SOFTWARE GENERAL, IT HARDWARE GENERAL, KOP IT HARDWARE                      $0.00                  NET BOOK VALUE                              $0.00
 40.23   COMPUTER & SOFTWARE GENERAL, IT HARDWARE GENERAL, LA IT HARDWARE                  $11,659.82                  NET BOOK VALUE                         $11,659.82
 40.24   COMPUTER & SOFTWARE GENERAL, IT HARDWARE GENERAL, MIAMI IT HARDWARE                    $0.00                  NET BOOK VALUE                              $0.00
 40.25   COMPUTER & SOFTWARE GENERAL, IT HARDWARE GENERAL, MICHIGAN IT HARDWARE             $6,961.19                  NET BOOK VALUE                          $6,961.19
 40.26   COMPUTER & SOFTWARE GENERAL, IT HARDWARE GENERAL, MICHIGAN IT HARDWARE             $1,302.87                  NET BOOK VALUE                          $1,302.87
 40.27   COMPUTER & SOFTWARE GENERAL, IT HARDWARE GENERAL, NEW KOP IT HARDWARE              $2,139.36                  NET BOOK VALUE                          $2,139.36
 40.28   COMPUTER & SOFTWARE GENERAL, IT HARDWARE GENERAL, NEW TX IT HARDWARE               $8,788.02                  NET BOOK VALUE                          $8,788.02
 40.29   COMPUTER & SOFTWARE GENERAL, IT HARDWARE GENERAL, NEW TX IT HARDWARE               $1,205.80                  NET BOOK VALUE                          $1,205.80
 40.30   COMPUTER & SOFTWARE GENERAL, IT HARDWARE GENERAL, NJ IT HARDWARE                   $4,155.26                  NET BOOK VALUE                          $4,155.26
 40.31   COMPUTER & SOFTWARE GENERAL, IT HARDWARE GENERAL, NY IT HARDWARE                  $40,378.74                  NET BOOK VALUE                         $40,378.74
 40.32   COMPUTER & SOFTWARE GENERAL, IT HARDWARE GENERAL, NY IT HARDWARE                   $6,678.33                  NET BOOK VALUE                          $6,678.33
 40.33   COMPUTER & SOFTWARE GENERAL, IT HARDWARE GENERAL, OHIO IT HARDWARE                     $0.00                  NET BOOK VALUE                              $0.00
 40.34   COMPUTER & SOFTWARE GENERAL, IT HARDWARE GENERAL, SF IT HARDWARE                       $0.00                  NET BOOK VALUE                              $0.00
 40.35   COMPUTER & SOFTWARE GENERAL, IT HARDWARE GENERAL, TEXAS IT HARDWARE                $3,965.64                  NET BOOK VALUE                          $3,965.64
 40.36   COMPUTER & SOFTWARE GENERAL, IT HARDWARE GENERAL, WA IT HARDWARE                       $0.00                  NET BOOK VALUE                              $0.00
 40.37   COMPUTER & SOFTWARE GENERAL, IT SOFTWARE GENERAL                                       $0.00                  NET BOOK VALUE                              $0.00
 40.38   COMPUTER & SOFTWARE GENERAL, IT SOFTWARE GENERAL, KOP IT SOFTWARE                      $0.00                  NET BOOK VALUE                              $0.00
 40.39   COMPUTER & SOFTWARE GENERAL, IT SOFTWARE GENERAL, LA IT SOFTWARE                       $0.00                  NET BOOK VALUE                              $0.00
 40.40   COMPUTER & SOFTWARE GENERAL, IT SOFTWARE GENERAL, NJ IT SOFTWARE                   $2,778.71                  NET BOOK VALUE                          $2,778.71
 40.41   COMPUTER & SOFTWARE GENERAL, IT SOFTWARE GENERAL, NY IT SOFTWARE                   $1,021.42                  NET BOOK VALUE                          $1,021.42
 40.42   COMPUTER & SOFTWARE GENERAL, IT SOFTWARE GENERAL, TX IT SOFTWARE                  $27,512.65                  NET BOOK VALUE                         $27,512.65
 40.43   IP PATENTS                                                                             $0.00                  NET BOOK VALUE                              $0.00
 40.44   OFFICE EQUIPMENT GENERAL                                                               $0.00                  NET BOOK VALUE                              $0.00
 40.45   OFFICE EQUIPMENT GENERAL, OFFICE EQUIPMENT GENERAL                                     $0.00                  NET BOOK VALUE                              $0.00
 40.46   OFFICE EQUIPMENT GENERAL, OFFICE EQUIPMENT GENERAL, LA OFFICE EQUIPMENT              $776.22                  NET BOOK VALUE                            $776.22

 40.47   OFFICE EQUIPMENT GENERAL, OFFICE EQUIPMENT GENERAL, NEW TX OFFICE EQUIPMENT             $6,308.27             NET BOOK VALUE                          $6,308.27
 40.48   OFFICE EQUIPMENT GENERAL, OFFICE EQUIPMENT GENERAL, NY OFFICE EQUIPMENT                 $3,072.60             NET BOOK VALUE                          $3,072.60
 40.49   OFFICE EQUIPMENT GENERAL, OFFICE EQUIPMENT GENERAL, SF OFFICE EQUIPMENT                   $288.51             NET BOOK VALUE                            $288.51
 40.50   OFFICE EQUIPMENT GENERAL, OFFICE EQUIPMENT GENERAL, TX OFFICE EQUIPMENT                   $396.96             NET BOOK VALUE                            $396.96
                                                                                TOTAL:       $2,644,427.45                                    TOTAL:       $2,644,427.45




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              Other machinery, fixtures, and equipment (excluding farm machinery and equipment)

                                                Net Book Value of Valuation Method Used Current Value of
                     General Description        Debtor's Interest    for Current Value   Debtor's Interest
     50.1   KOP MACHINERY AND EQUIPMENT                 $2,391.47   NET BOOK VALUE              $2,391.47
     50.2   LA MACHINERY AND EQUIPMENT                      $55.94  NET BOOK VALUE                  $55.94
     50.3   LA MACHINERY AND EQUIPMENT                  $1,154.93   NET BOOK VALUE              $1,154.93
     50.4   NEW KOP MACHINERY AND EQUIPMENT             $3,551.36   NET BOOK VALUE              $3,551.36
     50.5   NEW TX MACHINERY AND EQUIPMENT              $7,057.74   NET BOOK VALUE              $7,057.74
     50.6   NY MACHINERY AND EQUIPMENT                  $6,946.88   NET BOOK VALUE              $6,946.88
     50.7   NY MACHINERY AND EQUIPMENT                  $6,489.50   NET BOOK VALUE              $6,489.50
     50.8   SF MACHINERY AND EQUIPMENT                       $0.00  NET BOOK VALUE                   $0.00
     50.9   TX MACHINERY AND EQUIPMENT                       $0.00  NET BOOK VALUE                   $0.00
                                         TOTAL:        $27,647.82                 TOTAL:       $27,647.82




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                                         Other property of any kind not already listed
                                                                                               Current Value of
                                                  General Description                          Debtor's Interest
         77.1    1920 MCKINNEY AVE TENANT LLC. - RENT NEGATIVE AP BALANCE                                $703.00
         77.2    401 PARK AVENUE SOUTH ASSOCIATES LLC - RENT NEGATIVE AP BALANCE                      $10,168.00
         77.3    AMEX #02051 (PB) - EMPLOYEE EXPENSES                                                  $1,011.72
         77.4    AMEX #51004                                                                          $15,931.48
         77.5    AMEX #61008 (MH)                                                                        $372.08
         77.6    AON RISK INSURANCE SERVICES WEST, INC. - INSURANCE NEGATIVE AP BALANCE                  $557.00
         77.7    BANYAN STREET/GAP 191 PEACHTREE OWNER LLC - RENT NEGATIVE AP BALANCE                  $2,303.00
         77.8    BARUCH TRIAD, LLC - RENT NEGATIVE AP BALANCE                                          $2,284.00
                 BRE HH PROPERTY OWNER LLC DBA BRE HYDRA HOLDCO LLC - RENT NEGATIVE AP
         77.9    BALANCE                                                                               $3,369.00
         77.10   BRITTANY HAYNIE - CONTRACTORS NEGATIVE ACCRUED                                          $512.00
         77.11   BRYEMERE HOLDING LLC - RENT NEGATIVE AP BALANCE                                       $7,991.00
         77.12   BURDICK EXECUTIVE RECRUITING - OTHER EXPENSES NEGATIVE ACCRUED                       $30,625.00
         77.13   BURO GROUP LLC - RENT NEGATIVE AP BALANCE                                               $206.00
                 CONSULTING MAINE, INC - PROFESSIONAL FEES AND OUTSOURCING NEGATIVE
         77.14   ACCRUED                                                                                 $120.00
         77.15   FRIEDMAN PROPERTIES, LTD - RENT NEGATIVE AP BALANCE                                     $804.00
                 FTI CAPITAL ADVISORS, LLC - PROFESSIONAL FEES AND OUTSOURCING NEGATIVE AP
         77.16   BALANCE                                                                            $350,000.00
         77.17   GODADDY.COM - DEPLOYMENT EXPENSES NEGATIVE AP BALANCE                                     $60.32
         77.18   GOOGLE INC - MEDIA BUY NEGATIVE AP BALANCE                                                 $0.00
         77.19   INTERCOMPANY - MEDIAMIND TECHNOLOGIES (SHANGHAI) LTD.                                   $787.18
         77.20   INTERCOMPANY - SIZMEK DSP INC.                                                  $13,705,009.35
         77.21   INTERCOMPANY - SIZMEK HONG KONG LIMITED                                              $15,264.48
         77.22   INTERCOMPANY - SIZMEK PROPAGANDA DIGITAL DO BRAZIL LTDA                               $1,383.10
         77.23   INTERCOMPANY - SIZMEK SARL                                                            $1,282.13
         77.24   INTERCOMPANY - SIZMEK SARL                                                         $798,349.46
         77.25   INTERCOMPANY - SIZMEK SPAIN, SL                                                    $303,865.36
         77.26   INTERCOMPANY - SIZMEK SPAIN, SL                                                       $1,220.58
         77.27   INTERCOMPANY - SIZMEK TECHNOLOGIES GMBH                                                   $40.95
         77.28   INTERCOMPANY - SIZMEK TECHNOLOGIES GMBH                                              $23,880.24
         77.29   INTERCOMPANY - SIZMEK TECHNOLOGIES LTD                                          $77,521,244.02
         77.30   INTERCOMPANY - SIZMEK TECHNOLOGIES LTD                                          $19,171,763.83
         77.31   INTERCOMPANY - SIZMEK TECHNOLOGIES LTD                                            $6,116,710.00
         77.32   INTERCOMPANY - SIZMEK TECHNOLOGIES MEXICO SA DE CV                                    $2,343.73
         77.33   INTERCOMPANY - SIZMEK TECHNOLOGIES PTY. LIMITED                                       $1,535.00
         77.34   INTERCOMPANY - SIZMEK TECHNOLOGIES S.R.L.                                               $460.61
         77.35   INVESTMENT IN SUBSIDIARY - ISRAEL; BOOK VALUE                                       UNKNOWN
         77.36   INVESTMENT IN SUBSIDIARY - ROCKET FUEL; BOOK VALUE                                  UNKNOWN
         77.37   INVESTMENT IN SUBSIDIARY - UNICAST EMEA; BOOK VALUE                                 UNKNOWN
                 KIRKLAND AND ELLIS LLP - PROFESSIONAL FEES AND OUTSOURCING NEGATIVE AP
         77.38   BALANCE                                                                              $88,234.64
         77.39   LINKEDIN CORPORATION - MEDIA BUY NEGATIVE AP BALANCE                                      $89.45
         77.40   MEDIAMATH, INC. - MEDIA BUY NEGATIVE AP BALANCE                                           $95.35
         77.41   PEACHTREE OFFICES AT LENOX, INC - RENT NEGATIVE AP BALANCE                              $444.00
         77.42   PPD NEW AUSTIN ROLLINGWOOD DENSITY FEE NOV 2022                                       $6,897.00
         77.43   PPD PO 211165 1/19-12/21: JUNIPER SUPPORT-NJ,LA,LA                                   $46,668.83
         77.44   PPD PO 211166 1/19-12/21: CISCO SMARTNET-AT&T NJ                                     $36,666.13
         77.45   PPD PO209815 MERAKIMX100 5YR LICENSE 5/2018-4/2023                                   $33,031.86
                 PWC ISRAEL - KESSELMAN & KESSELMAN - PROFESSIONAL FEES AND OUTSOURCING
         77.46   NEGATIVE ACCRUED                                                                     $10,622.67
         77.47   SANSOME HOLDINGS, L.P. - RENT NEGATIVE ACCRUED                                        $4,102.96
         77.48   SANSOME HOLDINGS, L.P. - RENT NEGATIVE AP BALANCE                                     $1,368.00
         77.49   SP PLUS CORPORATION - UTILITIES AND MAINTENANCE NEGATIVE AP BALANCE                     $520.00
         77.50   TEXAS EZPAWN, LP - RENT NEGATIVE AP BALANCE                                           $2,269.00
         77.51   TIAA COMMERCIAL FINANCE INC - MAINTENANCE & REPAIRS NEGATIVE AP BALANCE               $3,557.01
         77.52   UNRECONCILED ASSETS                                                                  $20,114.09
         77.53   UPPER MERION TOWNSHIP - TAXES NEGATIVE AP BALANCE                                          $0.00
         77.54   WASHINGTON SPEAKERS BUREAU - WSB - MARKETING NEGATIVE AP BALANCE                     $18,500.00
                                                                                        TOTAL:  $118,365,338.61




Sizmek Technologies, Inc.
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 Fill in this information to identify the case:

 Debtor name: Sizmek Technologies, Inc.

 United States Bankruptcy for the District of: Southern New York
                                                                                                                                                           Check if this is an
 Case number: 19-10974
                                                                                                                                                           amended ling


O cial Form 206D
Schedule D: Creditors Who Have Claims Secured by Property

Be as complete and accurate as possible.

 Part 1:     List Creditors Who Have Claims Secured by Property
 1. Do any creditors have claims secured by debtor's property?

           No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
           Yes. Fill in all of the information below.



 2. List creditors who have secured claims.If a creditor has more than one secured claim, list the           Column A                         Column B
 creditor separately for each claim.
                                                                                                             Amount of Claim                  Value of collateral that
                                                                                                             Do not deduct the value of       supports this claim
                                                                                                             collateral.

   2.1                                                  Describe debtor's property that is subject to       $146,954,066.00                  $ TBD
              Creditor's name and mailing               the lien:
              address
              CERBERUS BUSINESS FINANCE,                Describe the lien
              LLC, 875 THIRD AVENUE, 10TH               1ST LIEN PRINCIPAL DEBT BALANCE
              FLOOR, NEW YORK, NY 10022
                                                        Is the creditor an insider or related party?
             Date debt was incurred?
                                                               No
              SEPTEMBER 6, 2017
                                                               Yes
             Last 4 digits of account number            Is anyone else liable on this claim?
                                                               No

             Do multiple creditors have an interest            Yes Fill out Schedule H: Codebtors (O cial
             in the same property?                             Form 206H)
                                                        As of the petition ling date, the claim is:
                    No
                                                        Check all that apply.
                    Yes. Specify each creditor,
                                                             Contingent
                    including this creditor, and its
                    relative priority.
                                                             Unliquidated
              SIZMEK FINCO, LLC (VECTOR
              CAPITAL MANAGEMENT) -
                                                             Disputed
              2ND
              LIEN LIEN, 3RD LIEN
                    3RD LIEN
              CERBERUS CAPITAL
              MANAGEMENT, L.P. - 3RD LIEN
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2.2                                                              Pg 36 of 50  $5,850,027.32
                                               Describe debtor's property that is subject to                          $ TBD
      Creditor's name and mailing              the lien:
      address
      CERBERUS BUSINESS FINANCE,               Describe the lien
      LLC, 875 THIRD AVENUE, 10TH              3RD LIEN ACCRUED PIK INTEREST
      FLOOR, NEW YORK, NY 10022
                                               Is the creditor an insider or related party?
      Date debt was incurred?
                                                      No
      '9/6/17 - 3/28/19
                                                      Yes
      Last 4 digits of account number          Is anyone else liable on this claim?
                                                      No

      Do multiple creditors have an interest          Yes Fill out Schedule H: Codebtors (O cial
      in the same property?                           Form 206H)
                                               As of the petition ling date, the claim is:
            No
                                               Check all that apply.
            Yes. Specify each creditor,
                                                    Contingent
            including this creditor, and its
            relative priority.
                                                    Unliquidated
      SIZMEK FINCO, LLC (VECTOR
      CAPITAL MANAGEMENT) -
                                                    Disputed
      2ND LIEN, 3RD LIEN


2.3                                            Describe debtor's property that is subject to       $15,000,000.00     $ TBD
                                               the lien:
      Creditor's name and mailing address
      SIZMEK FINCO, LLC (VECTOR
                                               Describe the lien
      CAPITAL MANAGEMENT), ONE
                                               2ND LIEN PRINCIPAL DEBT BALANCE
      MARKET STREET, STEUART TOWER,
      23RD FLOOR, SAN FRANCISCO, CA            Is the creditor an insider or related party?
      94105                                           No
      Date debt was incurred?                         Yes
      AUGUST 6, 2018                           Is anyone else liable on this claim?
                                                      No
      Last 4 digits of account number
                                                      Yes Fill out Schedule H: Codebtors (O cial
                                                      Form 206H)
      Do multiple creditors have an interest   As of the petition ling date, the claim is:
      in the same property?                    Check all that apply.

            No                                      Contingent

            Yes. Specify each creditor,
                                                    Unliquidated
            including this creditor, and its
            relative priority.
                                                    Disputed
        CERBERUS CAPITAL
        MANAGEMENT, L.P. - 1ST LIEN,
        3RD LIEN
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  2.4                                                                Pg 37 of 50  $1,062,338.68
                                                   Describe debtor's property that is subject to                                          $ TBD
          Creditor's name and mailing              the lien:
          address
          SIZMEK FINCO, LLC (VECTOR                Describe the lien
          CAPITAL MANAGEMENT), ONE                 3RD LIEN ACCRUED PIK INTEREST
          MARKET STREET, STEUART TOWER,
          23RD FLOOR, SAN FRANCISCO, CA            Is the creditor an insider or related party?
          94105                                           No
          Date debt was incurred?                         Yes
          8/6/18 - 3/28/19                         Is anyone else liable on this claim?
                                                          No
          Last 4 digits of account number
                                                          Yes Fill out Schedule H: Codebtors (O cial
                                                          Form 206H)
          Do multiple creditors have an interest   As of the petition ling date, the claim is:
          in the same property?                    Check all that apply.

                No                                      Contingent

                Yes. Specify each creditor,
                                                        Unliquidated
                including this creditor, and its
                relative priority.
                                                        Disputed
          CERBERUS CAPITAL
          MANAGEMENT, L.P. - 1ST LIEN, 3RD
          LIEN



3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional        $168,866,432.00
Page, if any.


Part 2:   List Others to Be Noti ed for a Debt That You Already Listed
List in alphabetical order any others who must be noti ed for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies, assignees
of claims listed above, and attorneys for secured creditors.
If no others need to be noti ed for the debts listed in Part 1, do not ll out or submit this page. If additional pages are needed, copy this page.
                                                                                          On which line in Part 1 did you enter     Last 4 digits of account number for
 Name and address          Sort                                                                                                     this entity
                                                                                          the related creditor?     Sort


 3.1      PETRUS CAPITAL MANAGEMENT, LLC, 3000 TURTLE CREEK BLVD,                         2.1 & 2.2
          DALLAS, TX 75219
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 Fill in this information to identify the case:

 Debtor name: Sizmek Technologies, Inc.

 United States Bankruptcy for the District of: Southern New York
                                                                                                                                                                 Check if this is an
 Case number: 19-10974
                                                                                                                                                                 amended ling


O cial Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims. List the
other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and Personal Property
(Of cial Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Of cial Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If
more space is needed for Part 1 or Part 2, ll out and attach the Additional Page of that Part included in this form.

 Part 1:     List All Creditors with PRIORITY Unsecured Claims
 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.



 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors with priority
 unsecured claims, ll out and attach the Additional Page of Part 1.

                                                                                                                              Total claim                    Priority amount

  2.1        Priority creditor’s name and mailing address                As of the petition ling date, the claim is:         $ 2,000.00                     $2,000.00
                                                                         Check all that apply.
             NORTH CAROLINA DEPARTMENT OF REVENUE, PO
             BOX 25000, RALEIGH, NC 27640-0640                                Contingent

             Date or dates debt was incurred                                  Unliquidated

                                                                              Disputed
             Last 4 digits of account number
                                                                         Basis for the claim:
                                                                         UNPAID TAXES
             Specify Code subsection of PRIORITY unsecured               Is the claim subject to offset?
             claim:
                                                                                No
             11 U.S.C. § 507(a) (            )
                                                                                Yes


  2.2        Priority creditor’s name and mailing address                As of the petition ling date, the claim is:         $ 1,155.24                     $1,155.24
                                                                         Check all that apply.
             WASHINGTON STATE DEPARTMENT OF REVENUE,
             PO BOX 47476, OLYMPIA, WA 98504-7476                             Contingent

             Date or dates debt was incurred                                  Unliquidated

                                                                              Disputed
             Last 4 digits of account number
                                                                         Basis for the claim:
                                                                         UNPAID TAXES
             Specify Code subsection of PRIORITY unsecured               Is the claim subject to offset?
             claim:
                                                                                No
             11 U.S.C. § 507(a) (            )
                                                                                Yes
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Part 2:   List All Creditors with NONPRIORITY Unsecured Claim
3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, ll out and attach the
Additional Page of Part 2.

                                                                                                                                                            Amount of claim


  3.1      Nonpriority creditor’s name and mailing address                                  As of the petition ling date, the claim is:                      $67,981,506.08
           SEE ATTACHED SCHEDULE F EXHIBIT                                                  Check all that apply.
           Date or dates debt was incurred                                                       Contingent

                                                                                                 Unliquidated

                                                                                                 Disputed
                                                                                            Basis for the claim:


                                                                                            Is the claim subject to offset?
                                                                                                    No
                                                                                                    Yes




Part 3:   List Others to BE Noti ed About Unsecured Claims
4. List in alphabetical order any others who must be noti ed for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies, assignees of
claims listed above, and attorneys for unsecured creditors.

If no others need to be noti ed for the debts listed in Parts 1 and 2, do not ll out or submit this page. If additional pages are needed, copy the next page.
 Name and mailing address                                                                     On which line in Part 1 or Part 2 is the related              Last 4 digits of
                                                                                              creditor (if any) listed?                                     account number, if any

 4.1.                                                                                        Line


                                                                                                    Not listed. Explain




Part 4:   Total Amounts of the Priority and Nonpriority Unsecured Claims
5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                                             Total of claim amounts

 5a. Total claims from Part 1                                                                                                       5a.    $3,155.24
 5b. Total claims from Part 2                                                                                                       5b.    $67,981,506.08
 5c. Total of Parts 1 and 2                                                                                                         5c.
                                                                                                                                             $67,984,661.32
 Lines 5a + 5b = 5c.
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                                                                                   Schedule F
                                                                 List All Creditors with Nonpriority Unsecured Claims




                                                                                                                                     Unliquidated
                                                                                                                        Contingent


                                                                                                                                                    Disputed
                         Non-priority Creditor's Name                              Address                                                                                Basis For The Claim      Amount of Claim
    3.1   401 PARK AVENUE SOUTH ASSOCIATES LLC                                                                                                                 RENT                                     $7,409.00
    3.2   ABAKUS, INC                                                                                                                                          EXTERNAL PLATFORM USAGE                  $4,153.79
    3.3   ADDISON PROFESSIONAL FINANCIAL SEARCH                                                                                                                PROFESSIONAL FEES AND OUTSOURCING       $11,520.80
    3.4   ADP, INC                                        PO BOX 842875, BOSTON, MA 22842875                                                                   IT EXPENSES                              $8,552.91
    3.5   ADP, INC                                        PO BOX 842875, BOSTON, MA 22842875                                                                   IT EXPENSES                             $12,845.98
    3.6   ALAN G. CAMPBELL                                                                                                                                     MARKETING                               $13,400.00
    3.7   ALAN G. CAMPBELL                                                                                                                                     MARKETING                                $9,896.77
    3.8   ALKU TECHNOLOGIES , LLC                                                                                                                              CONTRACTORS                              $2,464.00
    3.9   ALL CITY REMODELING INC                                                                                                                              MAINTENANCE & REPAIRS                    $2,650.00
   3.10   AMBER                                                                                                                                                PROFESSIONAL FEES AND OUTSOURCING        $1,699.00
   3.11   AMEX #31014 (SW)                                PO BOX 1270, NEWARK, NJ 71011                                                                        EMPLOYEE EXPENSES                       $41,666.86
   3.12   AMEX #31022 (SH)                                PO BOX 1270, NEWARK, NJ 71011                                                                        EMPLOYEE EXPENSES                       $72,028.38
   3.13   AMEX #52009                                     PO BOX 1270, NEWARK, NJ 71011                                                                        EMPLOYEE EXPENSES                       $30,879.85
   3.14   AMEX #83003 (SC)                                PO BOX 1270, NEWARK, NJ 71011                                                                        EMPLOYEE EXPENSES                        $1,038.00
   3.15   AMSALEM BUSINESS TRAVEL LLC                                                                                                                X         TRAVEL AND ENTERTAINMENT                    $564.15
   3.16   AMSALEM BUSINESS TRAVEL LLC                                                                                                                          TRAVEL AND ENTERTAINMENT                $62,776.55
   3.17   ANAPLAN INC.                                                                                                                                         IT EXPENSES                              $1,915.78
   3.18   ANNA BINDER                                                                                                                                          PROFESSIONAL FEES AND OUTSOURCING        $1,093.75
   3.19   AON RISK INSURANCE SERVICES WEST, INC.                                                                                                               INSURANCE                               $15,883.52
   3.20   APPNEXUS, INC.                                  DEPT CH 19467, PALATINE, IL 600559467                                                                MEDIA BUY                               $88,955.79
   3.21   APPNEXUS, INC.                                  DEPT CH 19467, PALATINE, IL 600559467                                                                MEDIA BUY                               $35,402.84
   3.22   ARUN CHATTERJEE                                                                                                X            X              X         LITIGATION                          UNDETERMINED
   3.23   ASHLAN CHIDESTER                                                                                               X            X              X         LITIGATION                          UNDETERMINED
   3.24   AT&T CORP DATA                                                                                                                                       DATA CENTER                             $23,966.74
   3.25   AT&T MOBILITY LLC 287261773159 (CELL)                                                                                                                COMMUNICATIONS                               $53.67
   3.26   ATLASSIAN PTY LTD.                                                                                                                                   IT EXPENSES                              $2,067.63
   3.27   ATRIUM STAFFING, LLC                                                                                                                                 PROFESSIONAL FEES AND OUTSOURCING           $380.63
   3.28   BEE COMMUNICATIONS INC                                                                                                                               PROFESSIONAL FEES AND OUTSOURCING           $450.00
   3.29   BEVCO SERVICE, INC                                                                                                                                   MAINTENANCE & REPAIRS                        $31.80
   3.30   BEZEQ INTERNATIONAL LTD                                                                                                                              COMMUNICATIONS                          $95,239.95
   3.31   BRAND INNOVATORS LLC                                                                                                                                 MARKETING                               $22,500.00
   3.32   BRITTANY HAYNIE                                                                                                                                      CONTRACTORS                              $5,120.00
   3.33   CANARY LLC                                                                                                                                           MARKETING                                $8,463.07
   3.34   CANARY LLC                                                                                                                                           MARKETING                               $15,741.90
   3.35   CAPITOL VENDING AND COFFEE CO                                                                                                                        SOCIAL & WELFARE                            $367.13
   3.36   CARLOS COX                                      5001 NIAGARA DR, ACWORTH, GA 30102                                                                   PROFESSIONAL FEES AND OUTSOURCING        $6,698.00
   3.37   CARLOS COX                                      5001 NIAGARA DR, ACWORTH, GA 30102                                                                   PROFESSIONAL FEES AND OUTSOURCING        $2,960.00
   3.38   CDW                                                                                                                                                  IT EXPENSES                              $2,841.37
   3.39   CEB INC.                                                                                                                                   X         PROFESSIONAL FEES AND OUTSOURCING       $24,027.64
   3.40   CEDATO TECHNOLOGIES INC.                                                                                                                             MEDIA BUY                               $15,354.84
   3.41   CERBERUS BUSINESS FINANCE, LLC                                                                                                                       PROFESSIONAL FEES AND OUTSOURCING        $2,977.17
   3.42   CHICAGO INTERACTIVE MEDIA ASSOCIATION                                                                                                                MARKETING                                $6,000.00
   3.43   CITY OF LA                                                                                                                                           TAXES                                    $2,178.00
   3.44   COGENT COMMUNICATIONS, INC                      PO BOX 791087, BALTIMORE, MD 21279-1087                                                              DATA CENTER                             $24,476.51
   3.45   COMCAST HOLDINGS CORPORATION - CHICAGO DSL                                                                                                           COMMUNICATIONS                              $158.37
   3.46   CONSULTING MAINE, INC                                                                                                                                PROFESSIONAL FEES AND OUTSOURCING        $3,000.00
   3.47   CORESITE, L.P.                                                                                                                                       DATA CENTER                             $14,978.00
   3.48   CORPORATE ESSENTIALS                                                                                                                                 SOCIAL & WELFARE                            $544.43
   3.49   CULHANE MEADOWS HAUGHIAN & WALSH, PLLC                                                                                                               PROFESSIONAL FEES AND OUTSOURCING       $23,308.75
   3.50   CULHANE MEADOWS HAUGHIAN & WALSH, PLLC                                                                                                               PROFESSIONAL FEES AND OUTSOURCING        $3,112.00
   3.51   CURVATURE, INC.                                                                                                                                      DEPLOYMENT EXPENSES                          $69.30
   3.52   CURVATURE, INC.                                                                                                                                      DEPLOYMENT EXPENSES                     $30,589.08
   3.53   DANA BAND GROUP LLC                                                                                                                                  OTHER EXPENSES                          $11,570.00
   3.54   DANIEL VASQUEZ                                                                                                                                       CONTRACTORS                                 $728.00
   3.55   DARK CHARM CREATIVE, LLC / NETTIE M TIEN                                                                                                             PROFESSIONAL FEES AND OUTSOURCING        $8,200.00
   3.56   DARK CHARM CREATIVE, LLC / NETTIE M TIEN                                                                                                             PROFESSIONAL FEES AND OUTSOURCING        $5,780.65
   3.57   DAVIS & PARTNERS, LLC                                                                                                                                PROFESSIONAL FEES AND OUTSOURCING       $31,666.66
   3.58   DEWEESE & ASSOCIATES, PLLC                                                                                                                           PROFESSIONAL FEES AND OUTSOURCING        $7,700.00
   3.59   DEWEESE & ASSOCIATES, PLLC                                                                                                                           PROFESSIONAL FEES AND OUTSOURCING        $6,774.19
   3.60   DIGIDAY                                         26 MERCER STREET, NEW YORK, NY 10013                                                                 OTHER EXPENSES                          $28,500.00
   3.61   DISCOVERY BENEFITS INC                                                                                                                               PAYROLL EMPLOYEE BENEFITS AND                $41.00
   3.62   DONNA S. YEARSLEY                                                                                                                                    CONTRACTORS                              $4,842.50
   3.63   DONNA S. YEARSLEY                                                                                                                                    CONTRACTORS                              $4,006.71
   3.64   DORIA                                                                                                          X            X              X         LITIGATION                          UNDETERMINED
   3.65   EMC CORPORATION                                                                                                                                      DEPLOYMENT EXPENSES                      $7,479.69
   3.66   EMC CORPORATION                                                                                                                                      DEPLOYMENT EXPENSES                     $76,616.00
   3.67   EMPLOYEE REIMBURSEMENTS                                                                                                                              EMPLOYEE T&E                            $67,387.16
   3.68   ENCORE MEDIA METRICS, LLC                                                                                                                            AR REBATE / REFUND                      $36,265.00
   3.69   ENCORE MEDIA METRICS, LLC                                                                                                                            AR REBATE / REFUND                       $4,442.25
   3.70   ENTECH NETWORK SOLUTIONS, LLC.                                                                                                                       RECRUITING                              $12,000.00
                                                          ONE IRVINGTON CENTER, 700 KING FARM BOULEVARD SUITE
   3.71 ENTIT SOFTWARE LLC                                400, ROCKVILLE, MD 20850-5736                                                                        DEPLOYMENT EXPENSES                     $739,347.65
                                                          1133 AVENUE OF THE AMERICAS, 16TH FLOOR, NEW YORK,
   3.72   EQUINIX, INC.                                   NY 10036                                                                                     DATA CENTER                                        $213.25
   3.73   ERNST & YOUNG (ISRAEL)                                                                                                                       PROFESSIONAL FEES AND OUTSOURCING               $591,956.68
   3.74   EVOQUE DAWN US HOLDINGS LLC                     17304 PRESTON ROAD, SUITE 814, DALLAS, TX 75252                                              DATA CENTER                                      $75,920.36
   3.75   EXECTRANSPORT INC AKA EAST COAST EXECUTIVE                                                                                                   TRAVEL AND ENTERTAINMENT                           $637.85
   3.76   FACEBOOK, INC                                   1601 WILLOW ROAD, MENLO PARK, CA 94025                                                       MEDIA BUY                                       $864,115.67
   3.77   FACEBOOK, INC                                   1601 WILLOW ROAD, MENLO PARK, CA 94025                                                       MEDIA BUY                                       $441,252.90
   3.78   FILMLESS, INC.                                  2522 OCTAVIA STREET, SAN FRANCISCO, CA 94123                                                 MARKETING                                          $600.00
   3.79   FTI CAPITAL ADVISORS, LLC I                                                                                                                  PROFESSIONAL FEES AND OUTSOURCING               $158,064.50
   3.80   FUZE SEO, LLC                                   212 EAST 48TH STREET #3E, NEW YORK, NY 10017-1518                                            PROFESSIONAL FEES AND OUTSOURCING                 $1,673.83
   3.81   FUZE SEO, LLC                                   212 EAST 48TH STREET #3E, NEW YORK, NY 10017-1518                                            PROFESSIONAL FEES AND OUTSOURCING                 $5,806.45
   3.82   GARTNER, INC                                    56 TOP GALLANT RD, STAMFORD, CT 6902                                                         MARKETING                                         $7,225.81
   3.83   GENERAL VENDOR- T&E                                                                                                                          TRAVEL AND ENTERTAINMENT                         $60,907.95
   3.84   GLASSDOOR , INC.                                1 HARBOR DRIVE, SAUSALITO, CA 94965                                                          RECRUITING                                        $3,333.33
   3.85   GOOGLE INC                                      DOUBLECLICK TECHSOLUTIONS, PHILADELPHIA, PA                                                  MEDIA BUY                                             $0.00
   3.86   GOOGLE INC (MEDIABUY)                                                                                                                        MEDIA BUY                                         $1,183.28
   3.87   GRANT THORNTON LLP                              1901 S. MEYERS RD., SUITE 455, OAKBROOK TERRACE, IL                                        X PROFESSIONAL FEES AND OUTSOURCING                 $4,119.96
   3.88   GRANT THORNTON LLP - CANADA                                                                                                                  PROFESSIONAL FEES AND OUTSOURCING                  $631.48
   3.89   GTT COMMUNICATIONS, INC                                                                                                                      COMMUNICATIONS                                   $14,555.08
   3.90   HANGAR STUDIOS, LLC                                                                                                                          MARKETING                                         $3,500.00
   3.91   HEWLETT - PACKARD FINANCIAL SERVICES COMPANY                                                                                                 CAPITAL LEASE                                   $154,210.00
   3.92   HOLWICK CONSTRUCTORS, INC.                                                                                                                   LEASEHOLD IMPROVEMENTS                            $7,528.63
   3.93   I2I TECHNOLOGY LLC                              409 MINNISINK ROAD, SUITE 200, TOTOWA, NJ 7512                                               IT EXPENSES                                        $516.07
                                                          DEPARTMENT OF BUSINESS SERVICES, SPRINGFIELD, IL
   3.94   ILLINOIS SECRETARY OF STATE                     62756                                                                                                TAXES                                    $14,482.95
   3.95   INDUSTRIAL CARTING CUTTING ROOM DBA RECYCLING                                                                                                        MAINTENANCE & REPAIRS                      $601.53
   3.96   INSIGHT GLOBAL, LLC                                                                                                                                  PROFESSIONAL FEES AND OUTSOURCING          $329.00
   3.97   INTERCOMPANY - EW US                                                                                                                                 INTERCOMPANY CLAIM                   $59,179,197.16




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                                                                                        Schedule F
                                                                      List All Creditors with Nonpriority Unsecured Claims




                                                                                                                                          Unliquidated
                                                                                                                             Contingent


                                                                                                                                                         Disputed
                         Non-priority Creditor's Name                                   Address                                                                              Basis For The Claim      Amount of Claim
  3.98    INTERCOMPANY - PEER39 LTD.                                                                                                                                INTERCOMPANY CLAIM                     $2,219.01
  3.99    INTERCOMPANY - SIZMEK TECHNOLOGIES K.K.              401 PARK AVE., S., 5TH FLOOR, NEW YORK, NY 10016                                                     INTERCOMPANY CLAIM                          $3.40
  3.100   INTERCOMPANY - SIZMEK TECHNOLOGIES LTD               401 PARK AVE., S., 5TH FLOOR, NEW YORK, NY 10016                                                     INTERCOMPANY CLAIM                   $694,074.63
  3.101   INTERCOMPANY - SIZMEK TECHNOLOGIES LTD               401 PARK AVE., S., 5TH FLOOR, NEW YORK, NY 10016                                                     INTERCOMPANY CLAIM                   $896,224.55
  3.102   INTERIOR FOLIAGE DESIGN, INC                                                                                                                              MAINTENANCE & REPAIRS                     $519.33
  3.103   IRON MOUNTAIN INFORMATION MANAGEMENT, INC.                                                                                                                MAINTENANCE & REPAIRS                  $1,570.33
  3.104   JOHN D. PALMER                                                                                                                                            CONTRACTORS                            $3,432.00
  3.105   JPM #9003 (JP)                                                                                                                                            EMPLOYEE EXPENSES                          $59.88
  3.106   KATY COUCH                                                                                                                                                CONTRACTORS                            $3,512.24
  3.107   KEITH BIRKMAIR SPLASH CONSULTING OF MISSOURI LLC                                                                                                          CONTRACTORS                           $31,738.35
  3.108   KEITH BIRKMAIR SPLASH CONSULTING OF MISSOURI LLC                                                                                                          CONTRACTORS                            $7,440.00
  3.109   KETCHUM INC                                                                                                                                               MARKETING                             $52,025.00
  3.110   KILPATRICK TOWNSEND & STOCKTON, LLP                                                                                                                       PROFESSIONAL FEES AND OUTSOURCING         $227.50
  3.111   KILPATRICK TOWNSEND & STOCKTON, LLP                                                                                                                       PROFESSIONAL FEES AND OUTSOURCING      $3,102.00
          LANIER PARKING SOLUTIONS V, LLC DBA LANIER PARKING
  3.112   SOULTIONS                                                                                                                                                 UTILITIES AND MAINTENANCE                 $285.00
  3.113   LAS VEGAS RESORT HOLDINGS, LLC DBA SLS LAS VEGAS                                                                                                          MARKETING                               $13,170.78
  3.114   LEVEL 3 FINANCING INC AKA LEVEL                                                                                                                           COMMUNICATIONS                           $8,082.59
  3.115   LIBERTY MUTUAL INSURANCE                                                                                                                                  INSURANCE                               $24,523.14
  3.116   LIFE ACCOUNT LLC                                                                                                                                          PROFESSIONAL FEES AND OUTSOURCING       $10,035.00
          LIGHTOWER FIBER NETWORKS I, LLC DBA LIGHT TOWER
  3.117   FIBER LONG ISLAND, LLC                                                                                                                                    COMMUNICATIONS                          $862.75
  3.118   LINKEDIN CORPORATION                                                                                                                                      MEDIA BUY                             $10,587.70
  3.119   LONE STAR TARGETED ADVERTISING                                                                                      X            X              X         LITIGATION                        UNDETERMINED
  3.120   MANAGED BY Q INC                                                                                                                                          UTILITIES AND MAINTENANCE              $8,030.33
  3.121   MATTINGLY PRINT SERVICES LLC DBA ERNIE'S PRINT                                                                                                            UTILITIES AND MAINTENANCE                 $42.50
  3.122   MEDIA RATING COUNCIL, INC.                           420 LEXINGTON AVENUE, NEW YORK, NY 10170                                                             PROFESSIONAL FEES AND OUTSOURCING    $148,389.38
  3.123   MERCHACHA INC.                                                                                                                                            MARKETING                              $8,225.81
  3.124   MONTGOMERY COSCIA GEILICH LLP                                                                                                                             PROFESSIONAL FEES AND OUTSOURCING     $10,254.00
  3.125   NETWORK ADVERTISING INITIATIVE                       509 7TH STREET NW, WASHINGTON, DC 20004                                                              PROFESSIONAL FEES AND OUTSOURCING      $6,350.00
  3.126   NYC DEPARTMENT OF FINANCE                                                                                                                                 TAXES                                $136,838.72
  3.127   NYS DEPT OF TAXATION & FINANCE                                                                                                                            TAXES                                 $78,117.99
  3.128   NYS DEPT OF TAXATION & FINANCE                                                                                                                            TAXES                                 $45,934.05
  3.129   OFFICE DEPOT INC.                                                                                                                                         UTILITIES AND MAINTENANCE               $552.20
  3.130   OPSGENIE, INC.                                                                                                                                            DEPLOYMENT EXPENSES                    $2,463.33
  3.131   ORACLE AMERICA, INC                                  PO BOX 203448, DALLAS, TX 75320-3448                                                                 MEDIA BUY                                 $61.60
  3.132   OSBORNE CLARKE LLP                                                                                                                                        PROFESSIONAL FEES AND OUTSOURCING     $14,964.06
  3.133   OTHER UNRECONCILED AMOUNTS                                                                                                                                OTHER                                  $1,110.08
  3.134   PR NEWSWIRE ASSOCIATION LLC CISION                                                                                                                        MARKETING                               $249.00
  3.135   PROGRAMMATIC                                                                                                                                              OTHER EXPENSES                         $2,000.00
  3.136   PROSKAUER ROSE LLP!                                                                                                                             X         PROFESSIONAL FEES AND OUTSOURCING     $49,118.39
  3.137   PURE GREEN CORP DBA MIZARI WEST ENTERPRISES, INC.                                                                                                         MAINTENANCE & REPAIRS                   $107.32
  3.138   PWC ISRAEL - KESSELMAN & KESSELMAN                                                                                                                        PROFESSIONAL FEES AND OUTSOURCING     $50,213.00
  3.139   QUOTATION                                                                                                                                                 OTHER EXPENSES                        $11,000.00
  3.140   RAPPY & COMPANY, INC                                                                                                                                      PROFESSIONAL FEES AND OUTSOURCING       $900.00
  3.141   RINGCENTRAL INC.                                                                                                                                          COMMUNICATIONS                        $17,016.97
  3.142   RINGCENTRAL INC.                                                                                                                                          COMMUNICATIONS                        $13,859.00
  3.143   ROMANOFF CONSULTING                                                                                                                                       PROFESSIONAL FEES AND OUTSOURCING     $10,000.00
  3.144   SABA SOFTWARE INC                                                                                                                                         PROFESSIONAL FEES AND OUTSOURCING     $13,984.00
  3.145   SABA SOFTWARE INC                                                                                                                                         PROFESSIONAL FEES AND OUTSOURCING     $15,401.19
  3.146   SAP AMERICA INC.                                                                                                                                X         RESELLERS                             $15,566.48
  3.147   SAP AMERICA INC.                                                                                                                                          RESELLERS                             $94,817.68
  3.148   SERVICENGINE                                                                                                                                              PROFESSIONAL FEES AND OUTSOURCING     $51,621.54
  3.149   SERVICENGINE                                                                                                                                              PROFESSIONAL FEES AND OUTSOURCING     $24,838.71
  3.150   SHENTANGMU LLC DBA THE STATION AD MEDIA                                                                                                                   DIRECTORS                             $19,354.32
  3.151   SIGMA TECHNOLOGY SOLUTIONS INC                       PO BOX 733113, DALLAS, TX 75373-3113                                                                 IT EXPENSES                            $7,918.87
  3.152   SIGMA TECHNOLOGY SOLUTIONS INC                       PO BOX 733113, DALLAS, TX 75373-3113                                                                 IT EXPENSES                            $1,115.00
  3.153   SIGNATURE CLEANING SERVICES, INC.                                                                                                                         MAINTENANCE & REPAIRS                  $4,117.24
  3.154   SOCIALCOM INC DBA AUDIENCEX                                                                                                                               MARKETING                              $4,500.00
  3.155   SOFTLAYER AN IBM COMPANY                                                                                                                        X         DATA CENTER                            $5,819.36
  3.156   SPECTROTEL HOLDING COMPANY LLC                                                                                                                            COMMUNICATIONS                          $807.53
          STERLING INFOSYSTEMS INC. DBA STERLING TESTING
  3.157   SYSTEMS INC.                                                                                                                                              PROFESSIONAL FEES AND OUTSOURCING          $879.29
  3.158   SUBLIME SKINZ INC.                                                                                                                                        MEDIA BUY                                 $1,971.96
  3.159   SUPERIOR PLANTSCAPES DBA KSJV FIRST EQUITY INC.                                                                                                           MAINTENANCE & REPAIRS                      $260.34
  3.160   SUZANNE PRICE                                                                                                                                             PROFESSIONAL FEES AND OUTSOURCING         $1,200.00
                                                               B1-104, NAVRATNA SOCIETY, NEAR HP PETROL PUMP,
  3.161   SWAPNIL RAMESH GAIKAR                                KIWALE, DEHU ROAD, PUNE, MAHARASHTRA 412101 INDIA                                            CONTRACTORS                                      $6,018.88
  3.162   TEAM-NETCOM LTD                                                                                                                                   DEPLOYMENT EXPENSES                              $4,410.66
  3.163   TEGNA INC                                                                                                                                         DATA CENTER                                     $22,212.08
  3.164   TIAA COMMERCIAL FINANCE INC                                                                                                                       MAINTENANCE & REPAIRS                            $3,114.32
  3.165   TWELVE CONSULTING GROUP INC.                                                                                                                      PROFESSIONAL FEES AND OUTSOURCING                $2,000.00
  3.166   UPPER MERION TOWNSHIP                                                                                                                             TAXES                                                $0.00
  3.167   UPS DBA UNITED PARCEL SERVICE OF AMERICA, INC.                                                                                                    UTILITIES AND MAINTENANCE                        $7,187.83
  3.168   US BANK BUSINESS EQUIPMENT FINANCE SERVICES                                                                                                     X MAINTENANCE & REPAIRS                            $1,718.95
                                                               ONE MARKET STREET, STEUART TOWER 23RD FLOOR, SAN
  3.169   VECTOR CAPITAL MANAGEMENT, LP                        FRANCISCO, CA 94105                                                                        X PROFESSIONAL FEES AND OUTSOURCING             $1,799,999.98
  3.170   VEIRANO ADVOGADOS ASSOCIADOS                                                                                                                      PROFESSIONAL FEES AND OUTSOURCING                $26,964.00
  3.171   VERIZON INC.                                         PO BOX 15062, ALBANY, NY 12212                                                               COMMUNICATIONS                                     $244.99
  3.172   VIANT TECHNOLOGY HOLDING INC.                                                                                                                     EXTERNAL PLATFORM USAGE                          $29,038.11
  3.173   WASHINGTON SPEAKERS BUREAU - WSB                                                                                                                  MARKETING                                        $18,500.00
  3.174   XO COMMUNICATIONS, LLC DBA XO HOLDINGS                                                                                                            COMMUNICATIONS                                    $6,064.98
                                                                                                                                                                                     SUB-TOTAL:          $67,981,506.08




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 Fill in this information to identify the case:

 Debtor name: Sizmek Technologies, Inc.

 United States Bankruptcy for the District of: Southern New York
                                                                                                                                                       Check if this is an
 Case number: 19-10974
                                                                                                                                                       amended ling


O cial Form 206G
Schedule G: Executory Contracts and Unexpired Leases

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 Schedule G:     Executory Contracts and Unexpired Leases
 1. Does the debtor have any executory contracts or unexpired leases?

        No. Check this box and le this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
        Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (O cial Form 206A/B).



  2. List all contracts and unexpired leases                                              State the name and mailing address for all other parties with whom the debtor
                                                                                          has an executory contract or unexpired lease

  2.1     State what the contract        SEE ATTACHED SCHEDULE G EXHIBIT
          or lease is for and the
          nature of the debtor’s
          interest
          State the term
          remaining
          List the contract
          number of any
          government contract
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                                                                                                       Schedule G
                                                                                           Executory Contracts and Unexpired Leases



                                                                                                                                                            Date of                              List Contract Number of
                                                                    Description of Contract or Lease and                                                   Contract or                               Any Government
                              Contract Counterparty                     Nature of Debtor's Interest                               Detail                     Lease           Remaining Term             Contract
     2.1   (IPG) THE INTERPUBLIC GROUP OF COMPANIES, INC.           CUSTOMER                               MASTER SERVICES AGREEMENT                              4/1/13                  N/A               NA
     2.2   101 WEST GRAND LLC                                       LEASE (REAL PROP)                      LEASE - CHICAGO                                        9/9/14               8/31/21              NA
     2.3   401 PARK AVENUE SOUTH ASSOCIATES, LLC                    LEASE (REAL PROP)                      LEASE - NEW YORK                                      6/20/14             12/31/24               NA
     2.4   ABT GLOBAL BUSINESS TRAVEL MANAGEMENT                    VENDOR                                 SRV AGMT (GLOBAL W/ ATRIIS)                            8/1/18                   N/A              NA
     2.5   ADAPT MEDIA INC.                                         CUSTOMER                               SS DSP ORDER                                           1/1/19                   N/A              NA
     2.6   ADAPT MEDIA INC.                                         CUSTOMER                               MSA                                                    1/1/19                   N/A              NA
     2.7   ADP, INC.                                                VENDOR                                 SOW OPEN ENROLLMENT                                   4/23/18                   N/A              NA
     2.8   ADRELATED FZ-LLC                                         CUSTOMER                               MSA                                                    3/1/19                   N/A              NA
     2.9   ADSIGE INC.                                              CUSTOMER                               MSA                                                   11/1/18                   N/A              NA
    2.10   ADSOCIAL S.A. DE C.V.                                    CUSTOMER                               MSA                                                    1/1/19                   N/A              NA
    2.11   ADSWERVE, INC.                                           VENDOR                                 DCM ORDER                                             4/25/18               4/24/19              NA
    2.12   ADSWERVE, INC.                                           VENDOR                                 MSA                                                   4/25/18               4/24/19              NA
    2.13   ADVERITY GMBH                                            CUSTOMER                               API AGMT                                               1/1/19                   N/A              NA
    2.14   AEROSPIKE, INC.                                          VENDOR                                 SOFTWARE LICENSE                                      12/8/18               12/7/19              NA
    2.15   AGENCY OF RECORD, LLC (DBA: QUALITY PRODUCE)             CUSTOMER                               MSA                                                   11/1/18                   N/A              NA
    2.16   AIMCLEAR, LLC                                            CUSTOMER                               MSA                                                    2/1/19                   N/A              NA
    2.17   AMERICAN AIRLINES, INC.                                  VENDOR                                 VENDOR AGMT                                           12/1/15                   N/A              NA
    2.18   AMIN WORLDWIDE                                           CUSTOMER                               MSA                                                   6/18/14                   N/A              NA
    2.19   AMNET GROUP INC.                                         CUSTOMER                               PLATFORM LICENSE AGREEMENT                            3/10/14                  N/A               NA
    2.20   AMPLIFI TECHNOLOGY LIMITED (DENTSU)                      CUSTOMER                               SUPPLIER MSA - GLOBAL DENTSU MSA                       1/6/17                   N/A              NA
    2.21   ANAPLAN, INC.                                            VENDOR                                 SAAS AGMT                                             6/29/16                   N/A              NA
    2.22   ANAPLAN, INC.                                            VENDOR                                 ORDER Q-02772                                          7/5/16                7/4/19              NA
    2.23   ANAPLAN, INC.                                            VENDOR                                 ORDER Q-09680                                          3/5/18                7/4/19              NA
    2.24   AOL                                                      CUSTOMER                               PRIVATE LABEL RICH MEDIA SERVICES AGREEMENT            5/1/15                  N/A               NA
    2.25   APPLE INC.                                               CUSTOMER                               GLOBAL MSA & SOW                                      8/15/18                   N/A              NA
    2.26   APPNEXUS, INC.                                           CUSTOMER                               LICENSE AGREEMENT                                     10/7/10                  N/A               NA
    2.27   APPNEXUS, INC.                                           CUSTOMER                               DATA PROVIDER SERVICES AGREEMENT                     11/11/16                  N/A               NA
    2.28   AT&T CORP.                                               VENDOR                                 ORDER (10535, HAWTHORNE, CA))                         7/26/16               7/25/19              NA
                                                                                                           ORDER/HYBRID CLOUD CHG ORDER (8876704,
    2.29 AT&T CORP.                                                 VENDOR                                 PISCATAWAY, NJ)                                         8/16/18                 N/A             NA
    2.30 AT&T CORP.                                                 VENDOR                                 CHANGE ORDER                                             9/7/18                 N/A             NA
    2.31 ATD PARTNERS, LLC                                          CUSTOMER                               SAS ORDER                                                4/1/18                 N/A             NA
    2.32 AUDIENS S.R.L.                                             VENDOR                                 DATA PROVIDER AGMT                                      12/1/17            11/30/18             NA
    2.33 AXONIX LTD.                                                VENDOR                                 RTB AGMT                                                4/11/18             4/10/19             NA
    2.34 BARUCH TRIAD LLC                                           LEASE (REAL PROP)                      LEASE - KING OF PRUSSIA                                 10/1/16             4/30/22             NA
    2.35 BEACHFRONTMEDIA LLC                                        VENDOR                                 RTB AGMT                                                8/11/17             8/10/18             NA
    2.36 BIG EYE CREATIVE, INC. (BIGEYE AGENCY)                     CUSTOMER                               MSA                                                      4/1/18                 N/A             NA
    2.37 BIG EYE CREATIVE, INC. (BIGEYE AGENCY)                     CUSTOMER                               SAS                                                      4/1/18                 N/A             NA
    2.38 BIRDWELL ENTERPRISES INC.                                  CUSTOMER                               SAS ORDER                                                2/1/19                 N/A             NA
    2.39 BIRDWELL ENTERPRISES INC.                                  CUSTOMER                               MSA                                                      2/1/19                 N/A             NA
    2.40 BOOYAH NETWORKS, INC.                                      CUSTOMER                               ADDM1 TO 2018 MSA & ALL SRVS ORDER                      1/31/19                 N/A             NA
    2.41 BRAINTRUST MARKETING + COMMUNICATIONS                      CUSTOMER                               SS DSP & ADSERVING ORDER                                10/1/18                 N/A             NA
    2.42 BRAINTRUST MARKETING + COMMUNICATIONS                      CUSTOMER                               MSA                                                     10/1/18                 N/A             NA
    2.43 BREMERE HOLDING, LLC                                       LEASE (REAL PROP)                      LEASE - KING OF PRUSSIA                                 4/30/15             6/30/21             NA
    2.44 BRIGHTCOVE INC.                                            VENDOR                                 ZENCODER AGMT                                           12/1/15                 N/A             NA
    2.45 BRIGHTCOVE INC.                                            VENDOR                                 ZENCODER AGMT                                            5/1/17                 N/A             NA
    2.46 BRILL MEDIA                                                CUSTOMER                               MSA                                                      5/1/18                 N/A             NA
    2.47 BRILL MEDIA                                                CUSTOMER                               ALL SRVS ORDER                                           5/1/18                 N/A             NA
    2.48 BÜRO MIAMI                                                 LEASE (REAL PROP)                      LEASE - MIAMI                                   Month to Month             1 month              NA
    2.49 CALLIDUS SOFTWARE INC.                                     VENDOR                                 ON-DEMAND SRVS AGMT                                     6/29/18             6/28/19             NA
    2.50 CALLIDUS SOFTWARE INC.                                     VENDOR                                 LITMOS ORDER                                            6/29/18             6/28/19             NA
    2.51 CBS LOCAL DIGITAL MEDIA (DIVISION OF CBS RADIO INC.)       CUSTOMER                               SOW LTR AGMT                                            1/17/18                 N/A             NA
    2.52 CENTRO INC                                                 CUSTOMER                               SERVICE AGREEMENT                                        4/1/14                N/A              NA
    2.53 CENTRO INC                                                 CUSTOMER                               AMENDMENT 1 TO SERVICE AGREEMENT                         8/1/15                N/A              NA
    2.54 CENTRO INC                                                 CUSTOMER                               AMENDMENT 2 TO SERVICE AGREEMENT                        3/11/16                N/A              NA
    2.55 CENTRO INC                                                 CUSTOMER                               AMENDMENT 3 TO SERVICE AGREEMENT                         5/1/16                N/A              NA
    2.56 CHR MEDIA GROUP                                            CUSTOMER                               MSA                                                      4/1/18                 N/A             NA
    2.57 CHR MEDIA GROUP                                            CUSTOMER                               SAS ORDER                                                4/1/18                 N/A             NA
    2.58 CLEAR CHANNEL OUTDOOR, INC.                                CUSTOMER                               AMDT2 TO MSA                                             2/1/19                 N/A             NA
    2.59 COLLE & MCVOY, INC.                                        CUSTOMER                               ADSERVING (MDX), SAS ORDER                               9/1/18                 N/A             NA
    2.60 COLLE & MCVOY, INC.                                        CUSTOMER                               MSA                                                      9/1/18                 N/A             NA
    2.61 COLLECTIVE INC.                                            CUSTOMER                               AMENDED & RESTATED SERVICE AGREEMENT                     4/1/16                N/A              NA
    2.62 COLLECTIVE INC.                                            CUSTOMER                               FIRST AMENDMENT LETTER                                  4/28/16                N/A              NA
    2.63 COLLECTIVE INC.                                            CUSTOMER                               SECOND AMENDMENT LETTER                                 7/15/16                N/A              NA
    2.64 COLLECTIVE, INC.                                           CUSTOMER                               AMDT2                                                    7/1/16                 N/A             NA
    2.65 COMSCORE, INC.                                             VENDOR                                 AMDT1 TO ORDER 2016 12 09 RESELL                        6/25/17                 N/A             NA
    2.66 COMSCORE, INC.                                             VENDOR                                 ORDER 18-12622 (COMS2)                                12/31/18             12/30/19             NA
    2.67 CONNATIX NATIVE EXCHANGE INC.                              VENDOR                                 RTB AGMT                                                5/23/18             5/22/19             NA
    2.68 CORESITE                                                   VENDOR                                 ORDER #SO-00011213                                      1/15/15                 N/A             NA
    2.69 CORESITE (CROSS-CONNECT RACK)                              VENDOR                                 ORDER #SO-00592519 (LA2 DATA CENTER)                     7/1/18                 N/A             NA
    2.70 CREDITSAFE USA INC.                                        VENDOR                                 ORDER                                                    7/6/18              7/6/19             NA
    2.71 CROSS TECH LAB LTD.                                        CUSTOMER                               MSA                                                      3/1/19                 N/A             NA
    2.72 DESIGNSENTORY                                              CUSTOMER                               OPEN AD ORDER                                           10/1/18             9/30/20             NA
    2.73 DICOM, INC.                                                CUSTOMER                               MSA DSP                                                  9/1/17                 N/A             NA
    2.74 DICOM, INC.                                                CUSTOMER                               PMP DSP WK ORDER                                         9/1/17                 N/A             NA
    2.75 DIGGING INTERACITVE LTD.                                   CUSTOMER                               SS DSP ORDER                                             9/1/18                 N/A             NA
    2.76 DIGGING INTERACITVE LTD.                                   CUSTOMER                               MSA                                                      9/1/18                 N/A             NA
    2.77 DIGITAL RIVER, INC.                                        CUSTOMER                               MSA                                                      3/1/16                 N/A             NA
    2.78 DIRAY MEDIA, INC.                                          CUSTOMER                               MSA DSP                                                 6/15/17                 N/A             NA
    2.79 DISTRICTM                                                  VENDOR                                 RTB AGMT                                              10/16/18             10/15/19             NA
    2.80 DNA BRAND MECHANICS, LLC                                   CUSTOMER                               SAS ORDER                                                2/1/19                 N/A             NA
    2.81 DNA BRAND MECHANICS, LLC                                   CUSTOMER                               MSA                                                      2/1/19                 N/A             NA
    2.82 DOCUSIGN, INC.                                             VENDOR                                 ORDER (SFDC)                                            6/12/18             6/11/19             NA
    2.83 DROPBOX, INC.                                              CUSTOMER                               ADSERVING ORDER                                          9/1/18                 N/A             NA
    2.84 DROPBOX, INC.                                              CUSTOMER                               DROPBOX INTERNAL USER SAAS ORDER, AGMT & DPA             1/1/19            12/31/19             NA
    2.85 EMX DIGITAL, LLC                                           VENDOR                                 RTB AGMT                                                6/25/18             6/24/19             NA
    2.86 EMX DIGITAL, LLC                                           CUSTOMER                               MSA                                                     9/20/18                 N/A             NA
    2.87 ENTECH NETWORK SOLUTIONS LLC                               VENDOR                                 SRV AGMT                                                9/17/18                 N/A             NA
         ENTLT SOFFWARE LLC
         (WHOLLY-OWNED SUBSIDIARY OF MICRO FOCUS
    2.88 INTERNATIONAL PLC)                                         VENDOR                                 VERTICA SOFTWARE                                       1/22/18              1/21/21             NA
                                                                                                           SOW - PRIVACY-RELATED AUDIT AND CERTIFICATION
   2.89    EPRIVACY GMBH                                            VENDOR                                 SERVICES IN EUROPE                                     3/18/17              3/17/20             NA
   2.90    EPRIVACY GMBH                                            VENDOR                                 EMEA OFFER ORDER                                      11/20/17             11/19/18             NA
   2.91    EQUINIX LLC                                              VENDOR                                 ORDER 1-166015554899 (NY4)                             12/1/18                 N/A              NA
   2.92    ETARGETMEDIA.COM, LLC                                    CUSTOMER                               SOW                                                     1/1/17                 N/A              NA
   2.93    FASHION MEDIA INC.                                       CUSTOMER                               MSA                                                    11/1/18                 N/A              NA
   2.94    FAST HORSE, INC.                                         CUSTOMER                               SAS ORDER                                               3/1/19                 N/A              NA
   2.95    FAST HORSE, INC.                                         CUSTOMER                               MSA                                                     3/1/19                 N/A              NA
   2.96    FIREHOUSE, LTD.                                          CUSTOMER                               ALL SRVS ORDER                                         10/1/18                 N/A              NA
   2.97    FIREHOUSE, LTD.                                          CUSTOMER                               MSA                                                    10/1/18                 N/A              NA
   2.98    GHOST MANAGEMENT (WEEDMAPS MEDIA, INC.)                  CUSTOMER                               SS DSP                                                 11/1/18                 N/A              NA
   2.99    GHOST MANAGEMENT (WEEDMAPS MEDIA, INC.)                  CUSTOMER                               MSA                                                    11/1/18                 N/A              NA
   2.100   GITHUB, INC.                                             VENDOR                                 ORDER                                                  12/3/18              12/2/21             NA
   2.101   GLOBAL NEW MEDIA LLC (DBA: BLUE ALLEN)                   CUSTOMER                               MSA                                                     1/1/19                 N/A              NA
   2.102   GO WITH MEDIA, LLC                                       CUSTOMER                               MSA                                                    7/24/18                 N/A              NA
   2.103   GO WITH MEDIA, LLC                                       CUSTOMER                               SRVS ORDER                                             7/24/18                 N/A              NA
   2.104   GOFT & TENNIS PRO SHOP, INC.                             CUSTOMER                               MSA (SFDC ACCT: APOGEE RESULTS)                        9/11/18                 N/A              NA




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                                                                                                                                                     Date of                          List Contract Number of
                                                             Description of Contract or Lease and                                                   Contract or                           Any Government
                          Contract Counterparty                  Nature of Debtor's Interest                            Detail                        Lease          Remaining Term          Contract
   2.105 GOFT & TENNIS PRO SHOP, INC.                        CUSTOMER                             SS DSP ORDER (SFDC ACCT: APOGEE RESULTS)                9/11/18                 N/A            NA
   2.106 GROUPM (LATAM)                                      CUSTOMER                             ADDENDUM                                                 3/1/16                 N/A            NA
   2.107 GROUPM (NAM)                                        CUSTOMER                             THIRD PARTY ADVERTISING VENDOR AGREEMENT                 9/1/09                 N/A            NA
                                                                                                  ADDENDUM 1 TO THIRD PARTY ADVERTISING VENDOR
   2.108 GROUPM (NAM)                                        CUSTOMER                             AGREEMENT                                                1/1/11                 N/A           NA
                                                                                                  ADDENDUM 2 TO THIRD PARTY ADVERTISING VENDOR
   2.109 GROUPM (NAM)                                        CUSTOMER                             AGREEMENT                                                7/1/13                 N/A           NA
                                                                                                  ADDENDUM 3 TO THIRD PARTY ADVERTISING VENDOR
   2.110 GROUPM (NAM)                                        CUSTOMER                             AGREEMENT                                                9/1/15                 N/A           NA
                                                                                                  ADDENDUM 4 TO THIRD PARTY ADVERTISING VENDOR
   2.111 GROUPM (NAM)                                        CUSTOMER                             AGREEMENT                                               10/1/15                 N/A           NA
                                                                                                  MEDIA COST ADDENDUM TO THIRD PARTY ADVERTISING
   2.112 GROUPM (NAM)                                        CUSTOMER                             VENDOR AGREEMENT                                        1/27/16                 N/A           NA
                                                                                                  ADDENDUM #4 TO THIRD PARTY ADVERTISING VENDOR
   2.113 GROUPM (NAM)                                        CUSTOMER                             AGREEMENT                                                3/1/16                 N/A           NA
                                                                                                  ADDENDUM #5 TO THIRD PARTY ADVERTISING VENDOR
   2.114 GROUPM (NAM)                                        CUSTOMER                             AGREEMENT                                                3/1/16                 N/A           NA
                                                                                                  ADDENDUM #6 TO THIRD PARTY ADVERTISING VENDOR
   2.115 GROUPM (NAM)                                        CUSTOMER                             AGREEMENT                                                4/1/16                 N/A           NA
                                                                                                  ADDENDUM #7 TO THIRD PARTY ADVERTISING VENDOR
   2.116 GROUPM (NAM)                                        CUSTOMER                             AGREEMENT                                                7/1/16                 N/A           NA
                                                                                                  THIRD SIDE LTR TO ADDM TO 3RD PARTY ADVERTISING
   2.117 GROUPM LATAM                                        CUSTOMER                             VENDOR AGMT 2016 03 01                                   3/1/16                 N/A           NA
   2.118 GSD&M                                               CUSTOMER                             SOW RE: IO T&C                                          2/28/18                 N/A           NA
   2.119 GUMGUM, INC.                                        VENDOR                               RTB AGMT                                                6/12/18              6/11/19          NA
                                                                                                  PEER39 INSERTION ORDER AND DATA SHARING
   2.120 HAVAS                                               CUSTOMER                             AGREEMENT                                              12/17/14                 N/A           NA
                                                                                                  PEER39 INSERTION ORDER AND DATA SHARING
   2.121 HAVAS                                               CUSTOMER                             AGREEMENT                                              12/17/14                 N/A           NA
   2.122 HENKEL CORPORATION                                  CUSTOMER                             MSA                                                      3/1/19              2/29/20          NA
         HEWLETT PACKARD FINANCIAL SERVICES COMPANY
   2.123 (VERTICA)                                           VENDOR                             SOFTWARE LIC. LEASE AGMT                                  1/19/18                  N/A          NA
   2.124 HORIZON MEDIA, INC.                                 CUSTOMER                           ADDM2                                                      4/1/18                  N/A          NA
   2.125 HUDDLED MASSES, LLC                                 CUSTOMER                           SERVICE AGREEMENT                                         10/1/14                 N/A           NA
   2.126 HULU, LLC                                           CUSTOMER                           3RD PARTY MARKETING VENDOR T&C (DMP)                       8/2/18                  N/A          NA
   2.127 IC 233 BUILDING COMPANY LLC                         LEASE (REAL PROP)                  LEASE - CHICAGO                                            3/1/19              2/19/24          NA
   2.128 IKEA PURCHASING SERVICES US, INC. - SUBTENANT       LEASE (REAL PROP)                  LEASE (SUBTENANT) - KING OF PRUSSIA                        9/1/16              6/25/21          NA
   2.129 INCOMM HOLDINGS INC.                                CUSTOMER                           PMP WK ORDER                                              8/27/18                  N/A          NA
   2.130 INTERACTIVE ADVERTISING BUREAU, INC. (IAB)          VENDOR                             DATA SUBSCRIPTION - SPIDERS AND BOTS                      11/7/18              11/6/19          NA
   2.131 INTERCEPT INTERACTIVE INC. (DBA UNDERTONE)          CUSTOMER                           AMDT7 TO PEER59 SRV AGMT 2011 11 16                        5/1/18              4/30/19          NA
   2.132 INTERNATIONAL BUSINESS MACHINES CORPORATION (IBM)   CUSTOMER                           SOW (#CW2908967)                                          9/11/18                  N/A          NA
   2.133 INTERNATIONAL BUSINESS MACHINES CORPORATION (IBM)   CUSTOMER                           SUPPLIER RELATIONSHIP AGMT (CW2908935)                    9/11/18                  N/A          NA
   2.134 INTERNATIONAL BUSINESS MACHINES CORPORATION (IBM)   CUSTOMER                           ADMT1 TO SOW (#CW2908967)                                10/26/18                  N/A          NA
                                                                                                INTERNET ADVERTISING IP GEOGRAPHIC INFORMATION
   2.135   IPB (CHINA)                                       VENDOR                             STANDARD LIBRARY SR CONTRACT ('18-'19 RENEWAL)             4/25/18             4/24/19          NA
   2.136   IQUANTI, INC.                                     CUSTOMER                           MSA                                                         2/1/19                N/A           NA
   2.137   JUST MEDIA, INC.                                  CUSTOMER                           ADSERVING ORDER                                            10/1/18                N/A           NA
   2.138   JUST MEDIA, INC.                                  CUSTOMER                           MSA                                                        10/1/18                N/A           NA
   2.139   KETCHUM, INC.                                     VENDOR                             SOW                                                         1/1/19            12/31/19          NA
   2.140   KETCHUM, INC.                                     VENDOR                             AGENCY AGMT                                                 1/1/19                N/A           NA
   2.141   KNUPP & WATSON & WALLMAN (KW2)                    CUSTOMER                           MSA                                                         1/1/19                N/A           NA
   2.142   KNUPP & WATSON & WALLMAN (KW2)                    CUSTOMER                           SAS ORDER                                                   1/1/19                N/A           NA
   2.143   KOI AMERICAS LLC                                  CUSTOMER                           MSA                                                         2/1/19                N/A           NA
   2.144   KR8OS, INC. (DBA: LUCIDITY TECH)                  CUSTOMER                           MSA                                                        10/1/18                N/A           NA
   2.145   KRT MARKETING, INC.                               CUSTOMER                           MSA                                                         2/1/19                N/A           NA
   2.146   LAFLEUR MARKETING, LLC                            CUSTOMER                           SS DSP & ADSERVING ORDER                                   9/26/18                N/A           NA
   2.147   LAFLEUR MARKETING, LLC                            CUSTOMER                           MSA                                                        9/26/18                N/A           NA
   2.148   LATINWORKS MARKETING, LLC                         CUSTOMER                           AMDT2 TO SRV AGMT                                          8/13/18                N/A           NA
   2.149   LIST PARTNERS, INC.                               VENDOR                             RENEWAL (6 USER LICENSES) WINMO                            2/28/18                N/A           NA
   2.150   LOHIKA SYSTEMS, INC.                              VENDOR                             WK ORDER2                                                   8/1/18             7/31/21          NA
   2.151   MANTA MEDIA, INC.                                 CUSTOMER                           MSA                                                        11/1/18                N/A           NA
   2.152   MARKETO                                           VENDOR                             ORDER10 (RENEWAL)                                          6/28/18             6/27/19          NA
   2.153   MARVELOUS ADVISORS, INC.                          VENDOR                             CONSULT AGMT                                             10/15/18                 N/A           NA
   2.154   MEDIA FACTORY LTD.                                CUSTOMER                           SAS ORDER                                                   9/1/18                N/A           NA
   2.155   MEDIA FACTORY LTD.                                CUSTOMER                           MSA                                                         9/1/18                N/A           NA
   2.156   MEDIABRANDS S.A.                                  CUSTOMER                           SRVS AGMT FOR TOYOTA ARGENTINA                              7/1/18                N/A           NA
   2.157   MEDIAMATH INC.                                    CUSTOMER                           MASTER SERVICE AGREEMENT                               12/17/2010                 N/A           NA

   2.158   MEDIAMATH INC.                                    CUSTOMER                           FIRST AMENDMENT TO MASTER SERVICE AGREEMENT              4/1/2013                 N/A           NA
   2.159   MEDIAMATH INC.                                    CUSTOMER                           SERVICE AGREEMENT                                       10/1/2016                 N/A           NA
   2.160   MEDIAMATH INC.                                    CUSTOMER                           ADDENDUM NO. 1 TO SERVICE AGREEMENT                     12/1/2016                 N/A           NA
   2.161   MEDIAMATH INC.                                    CUSTOMER                           SECOND AMENDMENT TO MASTER SERVICE                       1/1/2017                 N/A           NA
   2.162   MEDIAMATH, INC.                                   CUSTOMER                           MSA                                                      12/17/10                 N/A           NA
   2.163   MEDIAMATH, INC.                                   CUSTOMER                           AMDT3                                                     12/1/17                 N/A           NA
   2.164   MEDIASURFER INC.                                  CUSTOMER                           MSA                                                      11/30/18                 N/A           NA
   2.165   MEDIAVO, INC.                                     CUSTOMER                           MSA                                                         9/1/18                N/A           NA
   2.166   MEDIAVO, INC.                                     CUSTOMER                           SS DSP ORDER                                                9/1/18                N/A           NA
   2.167   MEDIAWALLAH LLC                                   CUSTOMER                           SRVS ORDER                                                7/18/18                 N/A           NA
   2.168   MEDIAWALLAH LLC                                   CUSTOMER                           MSA DSP                                                   7/18/18                 N/A           NA
   2.169   MIAMI DADE COLLEGE (MDC)                          CUSTOMER                           SRV AGMT                                                    2/1/16                N/A           NA
   2.170   MIAMI DADE COLLEGE (MDC)                          CUSTOMER                           ADDM2                                                    10/13/17                 N/A           NA
   2.171   MILESTONE INTEGRATED MARKETING INC.               CUSTOMER                           MSA                                                       11/1/18                 N/A           NA
   2.172   MORTENSON KIM, INC.                               CUSTOMER                           SRV AGMT                                                  10/1/16                 N/A           NA
   2.173   MORTENSON KIM, INC.                               CUSTOMER                           ADDM1 TO SRV AGMT                                           5/1/18                N/A           NA
   2.174   NATCOM GLOBAL                                     CUSTOMER                           ADSERVING ORDER                                           11/1/18                 N/A           NA
   2.175   NATCOM GLOBAL                                     CUSTOMER                           MSA                                                       11/1/18                 N/A           NA
   2.176   NATIONAL CINEMEDIA, LLC                           CUSTOMER                           AMDT2 TO SOW DSP                                            1/1/19                N/A           NA
   2.177   NATIVE ADS, INC.                                  VENDOR                             RTB AGMT                                                  2/26/18              2/25/19          NA
   2.178   NAVEX GLOBAL, INC.                                VENDOR                             MSA                                                       9/26/14                 N/A           NA
   2.179   NAVEX GLOBAL, INC.                                VENDOR                             ORDER6 (303394)                                           6/18/18              6/17/19          NA
                                                                                                AMDT1 TO MSA 2013 08 19 ORDER1 2013 08 19 AMDT1
   2.180   NEUSTAR INFORMATION SERVICES, INC.                VENDOR                             2018 08 19                                                8/19/18              8/19/19          NA
   2.181   NEUSTAR INFORMATION SERVICES, INC.                VENDOR                             API AGMT                                                  2/21/19              2/20/20          NA
   2.182   NEUSTAR, INC.                                     VENDOR                             ADADVISOR AGMT                                              5/1/10             4/30/13          NA
   2.183   NEUSTAR, INC.                                     VENDOR                             SRV ORDER (TO MSA 2010 12 29) ULTRA DNS                  12/23/16              3/31/20          NA
   2.184   NICKEL MEDIA INC.                                 CUSTOMER                           MSA                                                       5/15/18                 N/A           NA
   2.185   NVIDIA CORPORATION                                CUSTOMER                           MSA                                                       8/16/18                 N/A           NA
   2.186   NVIDIA CORPORATION                                CUSTOMER                           ALL SRVS ORDER                                            8/16/18                 N/A           NA
   2.187   OFFICE OF EXPERIENCE, LLC                         CUSTOMER                           MSA                                                         2/1/19                N/A           NA
   2.188   OMNICOM MEDIA GROUP HOLDINGS, INC                 CUSTOMER                           SERVICE AGREEMENT                                        7/1/2012                 N/A           NA
   2.189   OMNICOM MEDIA GROUP HOLDINGS, INC                 CUSTOMER                           FIRST AMENDMENT TO SERVICE AGREEMENT                    10/1/2012                 N/A           NA
   2.190   OMNICOM MEDIA GROUP HOLDINGS, INC                 CUSTOMER                           ADDENDUM NO. 1 TO SERVICE AGREEMENT                      2/1/2013                 N/A           NA
   2.191   OMNICOM MEDIA GROUP HOLDINGS, INC                 CUSTOMER                           ADDENDUM NO. 2 TO SERVICE AGREEMENT                      4/1/2014                 N/A           NA
                                                                                                AMENDMENT TO ADDENDUM NO. 1 TO SERVICE
   2.192   OMNICOM MEDIA GROUP HOLDINGS, INC                 CUSTOMER                           AGREEMENT                                                4/1/2015                 N/A           NA
   2.193   OMNICOM MEDIA GROUP HOLDINGS, INC                 CUSTOMER                           ADDENDUM NO. 3 TO SERVICE AGREEMENT                      4/1/2015                 N/A           NA
   2.194   OMNICOM MEDIA GROUP HOLDINGS, INC                 CUSTOMER                           ADDENDUM NO. 4 TO SERVICE AGREEMENT                      6/1/2015                 N/A           NA
   2.195   OMNICOM MEDIA GROUP HOLDINGS, INC                 CUSTOMER                           ADDENDUM NO. 5 TO SERVICE AGREEMENT                      6/1/2015                 N/A           NA




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                                                                                                                                                            Date of                            List Contract Number of
                                                                   Description of Contract or Lease and                                                    Contract or                             Any Government
                           Contract Counterparty                       Nature of Debtor's Interest                              Detail                       Lease          Remaining Term            Contract
   2.196   OMNICOM MEDIA GROUP HOLDINGS, INC                       CUSTOMER                               ADDENDUM NO. 6 TO SERVICE AGREEMENT                   8/1/2015                 N/A              NA
   2.197   OMNICOM MEDIA GROUP HOLDINGS, INC                       CUSTOMER                               ADDENDUM NO. 7 TO SERVICE AGREEMENT                   9/1/2015                 N/A              NA
   2.198   OMNICOM MEDIA GROUP HOLDINGS, INC                       CUSTOMER                               ADDENDUM NO. 8 TO SERVICE AGREEMENT                   9/1/2015                 N/A              NA
   2.199   OMNICOM MEDIA GROUP HOLDINGS, INC                       CUSTOMER                               SECOND AMENDMENT                                    11/1/2015                  N/A              NA
   2.200   OMNICOM MEDIA GROUP HOLDINGS, INC                       CUSTOMER                               ADDENDUM NO. 10 TO SERVICE AGREEMENT                11/1/2015                  N/A              NA
   2.201   OMNICOM MEDIA GROUP HOLDINGS, INC                       CUSTOMER                               ADDENDUM NO. 11 TO SERVICE AGREEMENT                  4/1/2017                 N/A              NA
                                                                                                          SIDE LETTER RE: GLOBAL RATES FOR SONY PICTURES
   2.202   OMNICOM MEDIA GROUP HOLDINGS, INC                       CUSTOMER                               CAMPAIGNS                                             4/2/2017                N/A              NA
   2.203   OMNYWAY INC.                                            CUSTOMER                               MSA DSP, ADSERVING                                      4/25/18               N/A              NA
   2.204   OMNYWAY INC.                                            CUSTOMER                               ALL SRVS ORDER                                          7/11/18               N/A              NA
   2.205   ONE2ONE MEDIA, LLC                                      CUSTOMER                               PARTNERSHIP AGMT                                        6/20/18               N/A              NA
   2.206   ONE2ONE MEDIA, LLC (DBA: ONE2ONE ADDRESSABLE)           CUSTOMER                               SOW ADDRESSABLE TV, (AGENCY: GSD&M)                     1/22/19            4/28/19             NA
   2.207   ONE2ONE MEDIA, LLC (DBA: ONE2ONE ADDRESSABLE)           CUSTOMER                               SRVS AGMT                                               1/22/19               N/A              NA
   2.208   OPSGENIE, INC.                                          VENDOR                                 ORDER                                                   6/28/18            6/27/19             NA
   2.209   OPSGENIE, INC.                                          VENDOR                                 ORDER (55 USERS)                                        9/18/18            9/28/19             NA
   2.210   OPTIMATIC MEDIA, INC.                                   VENDOR                                 RTB AGMT                                                3/12/18            3/11/19             NA
   2.211   OPTIMEDIA INTERNATIONAL US, INC                         CUSTOMER                               AFFILIATE ADOPTING AGREEMENT                          8/1/2015                N/A              NA
   2.212   OPTIMEDIA INTERNATIONAL US, INC                         CUSTOMER                               STATEMENT OF WORK                                    8/19/2015                N/A              NA
                                                                                                          SOFTWARE LIC. (NETSUITE "CARETAKER"
   2.213   ORACLE (FKA NETSUITE, INC.)                             VENDOR                                 SUBSCRIPTION)                                            6/2/18             6/1/19             NA
   2.214   ORION WORLDWIDE LLC                                     CUSTOMER                               AMDT1 TO MEDIA AGMT                                      4/1/18               N/A              NA
   2.215   ORION WORLDWIDE LLC                                     CUSTOMER                               MSA (#N314)                                              8/1/18               N/A              NA
   2.216   OUTBRAIN, INC.                                          VENDOR                                 RTB AGMT                                               12/8/17             12/7/18             NA
   2.217   PANDORA MEDIA, INC                                      CUSTOMER                               PUBLISHER SERVICES AGREEMENT                          2/1/2016                N/A              NA
                                                                                                          FIRST AMENDMENT TO THE PUBLISHER SERVICES
   2.218   PANDORA MEDIA, INC                                      CUSTOMER                               AGREEMENT                                             7/1/2016                N/A              NA
   2.219   PAPAYA GROUP CO LIMITED                                 CUSTOMER                               MSA                                                      3/1/19                N/A             NA
   2.220   PARADISE ADVERTISING                                    CUSTOMER                               MSA                                                    10/1/18                 N/A             NA
   2.221   PARADISE ADVERTISING & MARKETING, INC.                  CUSTOMER                               SAS ORDER                                              10/1/18                 N/A             NA
   2.222   PARALLEL SOFTWARE DEVELOPMENT COMPANY                   CUSTOMER                               SRVS ORDER                                               8/1/18                N/A             NA
   2.223   PARALLEL SOFTWARE DEVELOPMENT COMPANY                   CUSTOMER                               MSA                                                      8/1/18                N/A             NA
   2.224   PEACHTREE OFFICES AT PERIMETER LLC                      LEASE (REAL PROP)                      LEASE - ATLANTA/DUNWOODY                               4/10/17             1/31/20             NA
   2.225   POWERPHYL MEDIA SOLUTIONS                               CUSTOMER                               SS DSP ORDER                                           10/1/18                 N/A             NA
   2.226   POWERPHYL MEDIA SOLUTIONS                               CUSTOMER                               MSA                                                    10/1/18                 N/A             NA
   2.227   POWERPHYL MEDIA SOLUTIONS                               CUSTOMER                               SAS ORDER                                              12/1/18                 N/A             NA
   2.228   PRICELINE.COM INC                                       CUSTOMER                               MSA                                                    12/1/18                 N/A             NA
                                                                                                          CO-SELLER AGMT (TARGET PUBLISHERS 1)WALMART 2)
   2.229   PUBMATIC, INC.                                          VENDOR                                 PANDORA 3) REALTOR)                                    6/22/18                N/A              NA
   2.230   PUBNATIVE GMBH                                          VENDOR                                 RTB AGREEMENT                                          5/18/18             5/17/19             NA
   2.231   PUMPKIN LABS INC.                                       CUSTOMER                               MSA                                                    9/20/18                N/A              NA
   2.232   PUMPKIN LABS INC.                                       CUSTOMER                               SS DSP ORDER                                           9/20/18                N/A              NA
   2.233   QUOTIENT TECHNOLOGY INC.                                CUSTOMER                               MSA                                                    2/20/18                N/A              NA
   2.234   QUOTIENT TECHNOLOGY INC.                                CUSTOMER                               SAS ORDER                                               4/1/18                N/A              NA
   2.235   RAUXA DIRECT LLC                                        CUSTOMER                               SAS ORDER                                              6/15/18                N/A              NA
   2.236   RAUXA DIRECT LLC                                        CUSTOMER                               MSA                                                    6/25/18                N/A              NA
   2.237   RAUXA DIRECT LLC                                        CUSTOMER                               SAS ORDER (DSP ORDER NOT SIGNED)                       11/1/18                N/A              NA
   2.238   RHYTHMONE, LLC                                          VENDOR                                 MSA RTB                                                                       N/A              NA
   2.239   RINGCENTRAL, INC.                                       VENDOR                                 MSA                                                    4/26/18             4/25/19             NA
   2.240   S&P GLOBAL INC.                                         CUSTOMER                               MSA                                                     2/1/19             1/31/20             NA
   2.241   SABA SOFTWARE, INC.                                     VENDOR                                 ORDER (Q00022201) AND T&CS & SOW                      11/29/18            11/28/19             NA
   2.242   SABA SOFTWARE, INC.                                     VENDOR                                 AMDT1 TO SOW                                           2/22/19                N/A              NA
   2.243   SCYLLA DB, INC.                                         VENDOR                                 SOFTWARE LIC AGMT AND ORDER                            7/30/18             7/31/21             NA
   2.244   SEARS HOLDINGS MANAGEMENT CORPORATION                   CUSTOMER                               MSA                                                    7/20/18             7/19/19             NA
           SEQUOIA BENEFITS AND INSURANCE SERVICES, LLC (DBA
   2.245   SEQUOIA CONSULTING GROUP)                               VENDOR                                 CONSULTING AGMT (2019 EMPLOYEE BENEFITS)               8/13/18            12/31/22             NA
   2.246   SHARETHIS, INC.                                         VENDOR                                 AMDT2 TO DATA FEED                                     6/30/18             6/29/19             NA
   2.247   SITO MOBILE                                             CUSTOMER                               AMDT1 TO IO PUB PD                                     11/7/17                N/A              NA
   2.248   SMART ADSERVER                                          VENDOR                                 RTB AGMT                                              10/16/18            10/15/19             NA
           SMART REACH DIGITAL, LLC (A SUBSIDIARY OF ENTERCOM
   2.249   COMMUNICATIONS CORP.)                                   CUSTOMER                               PEER39 SRVS ORDER                                       7/1/18                N/A              NA
                                                                                                          CAPACITY ORDER, CONSUMPTION TABLE, MASTER
   2.250   SNOWFLAKE COMPUTING, INC.                               VENDOR                                 SAAS AGMT                                               10/1/18            9/30/19             NA
   2.251   SOCIALCOM, INC. (DBA: AUDIENCEX)                        CUSTOMER                               PARTNER AGMT (RESELLER)                                  7/1/18               N/A              NA
   2.252   SOMETHING MASSIVE, LLC                                  CUSTOMER                               SAS ORDER                                                2/8/19               N/A              NA
   2.253   SOMETHING MASSIVE, LLC                                  CUSTOMER                               MSA                                                      2/8/19               N/A              NA
   2.254   SONNET INSURANCE COMPANY                                CUSTOMER                               MSA                                                     7/16/18               N/A              NA
   2.255   SONNET INSURANCE COMPANY                                CUSTOMER                               SAS ORDER                                               7/16/18               N/A              NA
   2.256   SPARK FOUNDRY                                           CUSTOMER                               SOW SEM KENSHOO                                          6/1/18            5/31/19             NA
   2.257   SPIGOT, INC.                                            CUSTOMER                               SRV ORDER                                               7/26/18               N/A              NA
   2.258   SPIGOT, INC.                                            CUSTOMER                               MSA                                                     7/26/18               N/A              NA
   2.259   SPROUTLOUD MEDIA NETWORKS, LLC                          CUSTOMER                               MSA                                                   11/26/18                N/A              NA
   2.260   SPROUTLOUD MEDIA NETWORKS, LLC                          CUSTOMER                               SAS ORDER                                             11/26/18                N/A              NA
   2.261   STARCOM MEDIAVEST GROUP, INC.                           CUSTOMER                               SRV AGMT                                                 1/1/11               N/A              NA
   2.262   STARCOM MEDIAVEST GROUP, INC.                           CUSTOMER                               SERVICE AGREEMENT                                     1/1/2011                N/A              NA
   2.263   STARCOM MEDIAVEST GROUP, INC.                           CUSTOMER                               FIRST AMENDMENT TO SERVICE AGREEMENT                  1/7/2013                N/A              NA
   2.264   STARCOM MEDIAVEST GROUP, INC.                           CUSTOMER                               AMDT1 TO SRV AGMT                                        7/1/13               N/A              NA
   2.265   STARCOM MEDIAVEST GROUP, INC.                           CUSTOMER                               AMDT2 TO SRV AGMT                                       10/1/15               N/A              NA
   2.266   STARCOM MEDIAVEST GROUP, INC.                           CUSTOMER                               SECOND AMENDMENT TO SERVICE AGREEMENT                10/1/2015                N/A              NA
   2.267   STARCOM MEDIAVEST GROUP, INC.                           CUSTOMER                               AMDT3 TO SRV AGMT                                       7/25/16               N/A              NA
   2.268   STARCOM MEDIAVEST GROUP, INC.                           CUSTOMER                               THIRD AMENDMENT TO SERVICE AGREEMENT                 7/25/2016                N/A              NA
   2.269   STARCOM MEDIAVEST GROUP, INC.                           CUSTOMER                               AMDT6                                                    3/1/19               N/A              NA
   2.270   STONEBRANCH, INC.                                       VENDOR                                 SUBSCRIPTION RENEWAL                                  12/15/18            12/14/20             NA
   2.271   STROER SSP GMBH                                         VENDOR                                 RTB AGMT                                                5/28/18            5/27/19             NA
   2.272   SUCCESSFACTORS, INC. (SAP)                              VENDOR                                 CLOUD SRV ORDER (RENEWAL)                               4/22/18               N/A              NA
   2.273   SURVATA, INC.                                           CUSTOMER                               MSA                                                     12/1/18               N/A              NA
   2.274   TABLEAU SOFTWARE, INC.                                  VENDOR                                 ORDER #3813730                                        12/31/18            12/30/19             NA
                                                                                                          SIDE LTR TO API AGMT.
   2.275   TAPCLICKS                                               VENDOR                                 3RD PARTY VENDOR: DASHBOARD (MDX, SAS DATA)              2/6/19             2/5/20             NA
   2.276   TARGET MARKETING & COMMUNICATIONS INC.                  CUSTOMER                               MSA                                                      1/1/19               N/A              NA
   2.277   TCAA, INC.                                              CUSTOMER                               AMDT2 (SS DSP) TO 2009 SRV AGMT                          1/1/19               N/A              NA
   2.278   TCAA, INC.                                              CUSTOMER                               AMDT1 TO 2018 12 DATA EXPLORER AGMT                      2/1/19               N/A              NA
   2.279   TEAM ONE (SAATCHI AND SAATCHI NORTH AMERICA, INC.       CUSTOMER                               SERVICE AGREEMENT                                     9/1/2017                N/A              NA
   2.280   THALAMUS, INC.                                          CUSTOMER                               MSA                                                      1/1/19               N/A              NA
   2.281   THE AUTO CLUB GROUP                                     CUSTOMER                               ALL SRVS ORDER                                          10/1/18               N/A              NA
   2.282   THE AUTO CLUB GROUP                                     CUSTOMER                               MSA                                                     10/1/18               N/A              NA
   2.283   THE BASEMENT INC.                                       CUSTOMER                               SAS ORDER                                                1/1/19               N/A              NA
   2.284   THE BASEMENT INC.                                       CUSTOMER                               MSA                                                      1/1/19               N/A              NA
   2.285   THE GARY GROUP                                          CUSTOMER                               ADDM3 TO SRV AGMT                                       1/25/19               N/A              NA
   2.286   THE HIEBING GROUP, INC.                                 CUSTOMER                               AMDT2 TO SRV AGMT                                     11/14/18                N/A              NA
   2.287   THE LEVENSON GROUP, INC.                                CUSTOMER                               SRVS AGMT                                                1/1/18               N/A              NA
   2.288   THE NEW YORK TIMES COMPANY                              CUSTOMER                               PUBLISHER SRVS AGMT                                   11/20/15                N/A              NA
   2.289   THE NEW YORK TIMES COMPANY                              CUSTOMER                               AMDT1 TO PUBLISHER                                       1/1/18               N/A              NA
   2.290   THE RICHARDS GROUP, INC                                 CUSTOMER                               SERVICE AGREEMENT                                     2/1/2013                N/A              NA
   2.291   THE RICHARDS GROUP, INC                                 CUSTOMER                               FIRST AMENDMENT TO SERVICE AGREEMENT                 9/15/2015                N/A              NA
   2.292   THE RICHARDS GROUP, INC                                 CUSTOMER                               SECOND AMENDMENT TO SERVICE AGREEMENT                 5/1/2016                N/A              NA
   2.293   THE TRADE DESK, INC                                     CUSTOMER                               SERVICE AGREEMENT                                    5/16/2013                N/A              NA
   2.294   THE TRADE DESK, INC                                     CUSTOMER                               FIRST AMENDMENT TO SERVICE AGREEMENT                 3/21/2017                N/A              NA
   2.295   THE TRADE DESK, INC                                     CUSTOMER                               SECOND AMENDMENT TO SERVICE AGREEMENT                 8/1/2017                N/A              NA




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                                                           19-10971-smb    Doc 127     Filed 04/27/19 Entered 04/27/19 00:15:10     Main Document
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                                                                                                  Schedule G
                                                                                      Executory Contracts and Unexpired Leases



                                                                                                                                                         Date of                             List Contract Number of
                                                               Description of Contract or Lease and                                                     Contract or                              Any Government
                             Contract Counterparty                 Nature of Debtor's Interest                               Detail                       Lease          Remaining Term             Contract
   2.296   TIME + SPACE MEDIA LIMITED                          CUSTOMER                               SAS ORDER                                               6/15/18                 N/A               NA
   2.297   TIME + SPACE MEDIA LIMITED                          CUSTOMER                               MSA                                                     6/15/18                 N/A               NA
   2.298   TOLL BROTHERS, INC.                                 CUSTOMER                               SRVS AGMT                                                8/8/17                 N/A               NA
   2.299   TRACOM CORPORATION (DBA TRACOM GROUP)               VENDOR                                 PROGRAM LIC AGMT                                        7/16/18                 N/A               NA
   2.300   TRIPLE LIFT, INC.                                   VENDOR                                 NETWORK DEMAND PARTNER MSA                              6/20/17              6/19/18              NA
                                                                                                      AUDIENCE PLATFORM CONTEXTUAL DATA VENDOR
   2.301 TURN, INC.                                            CUSTOMER                               AGREEMENT                                             9/30/2011                 N/A              NA
                                                                                                      FIRST AMENDMENT TO AUDIENCE PLATFORM
   2.302 TURN, INC.                                            CUSTOMER                               CONTEXTUAL DATA VENDOR AGREEMENT                       5/1/2013                 N/A              NA
                                                                                                      SECOND AMENDMENT TO AUDIENCE PLATFORM
   2.303   TURN, INC.                                          CUSTOMER                               CONTEXTUAL DATA VENDOR AGREEMENT                       7/1/2016                 N/A              NA
   2.304   VIACOM INTERNATIONAL INC.                           CUSTOMER                               MASTER SERVICES AGREEMENT                              6/7/2013                 N/A              NA
   2.305   VIACOM INTERNATIONAL INC.                           CUSTOMER                               AMENDMENT NO. 1                                       6/16/2014                 N/A              NA
   2.306   VIACOM INTERNATIONAL INC.                           CUSTOMER                               STATEMENT OF WORK #3                                   7/2/2014                 N/A              NA
   2.307   VIACOM INTERNATIONAL INC.                           CUSTOMER                               STATEMENT OF WORK #4                                  5/20/2015                 N/A              NA
   2.308   VIACOM INTERNATIONAL INC.                           CUSTOMER                               STATEMENT OF WORK #5                                  9/10/2015                 N/A              NA
   2.309   VIACOM INTERNATIONAL INC.                           CUSTOMER                               STATEMENT OF WORK #6                                  11/1/2015                 N/A              NA
   2.310   VIACOM INTERNATIONAL INC.                           CUSTOMER                               STATEMENT OF WORK #7                                  2/12/2016                 N/A              NA
                                                                                                      AMENDMENT TO MASTER SERVICES AGREEMENT AND
   2.311   VIACOM INTERNATIONAL INC.                           CUSTOMER                               STATEMENTS OF WORK #3, #4, #5 AND #6                   6/1/2016                 N/A              NA
   2.312   VIACOM INTERNATIONAL, INC.                          CUSTOMER                               RENEWAL OF MSA AND SOWS 3 THRU 7                          6/7/18              6/7/19             NA
   2.313   VIANT US, LLC                                       CUSTOMER                               ADDM2 TO PUBLISHER AGMT                                   5/1/18                 N/A             NA
   2.314   VICI MEDIA INC.                                     CUSTOMER                               MSA                                                       2/1/19                 N/A             NA
   2.315   VISIT HERSHEY & HARRISBURG, INC.                    CUSTOMER                               MSA                                                       1/9/19                 N/A             NA
   2.316   VM1 (DBA: ZENITH MEDIA SERVICES)                    CUSTOMER                               SOW2                                                    3/15/19                  N/A             NA
   2.317   WATERSTONE STAFFING HOLDINGS, LLC - SUBTENANT       LEASE (REAL PROP)                      LEASE (SUBTENANT) - CHICAGO                               4/1/18             8/31/21             NA
                                                                                                      PARTICIPATING AFFILIATE LETTER TO GROUPM THIRD
   2.318 XAXIS                                                 CUSTOMER                               PARTY ADVERTISING VENDOR AGREEMENT                     9/1/2009                 N/A              NA
   2.319 XY - THE PERSISTENT COMPANY                           CUSTOMER                               MSA                                                     12/1/18                 N/A              NA
                                                                                                      RIGHT MEDIA EXCHANGE MARKETPLACE AGMT - MEDIA
   2.320   YAHOO INC.                                          VENDOR                                 BUYER                                                  9/3/2014                 N/A              NA
   2.321   YAHOO! INC.                                         CUSTOMER                               THIRD PARTY AD SERVER AGREEMENT                      11/30/2007                 N/A              NA
   2.322   YAHOO! INC.                                         CUSTOMER                               RICH MEDIA RIDER                                      3/10/2011                 N/A              NA
   2.323   YAHOO! INC.                                         CUSTOMER                               PRIVATE LABEL & NON-PRIVATE LABEL SMARTAD RIDER        8/1/2012                 N/A              NA
   2.324   YIELDLAB                                            VENDOR                                 RTB AGMT                                                  6/6/18              6/5/19             NA
                                                                                                      DG MEDIAMIND INCLUDED PUBLISHER NETWORK –
   2.325   YUME, INC.                                          CUSTOMER                               TERMS AND CONDITIONS                                  12/4/2013                 N/A              NA
   2.326   YUME, INC.                                          CUSTOMER                               AMENDMENT TO SIZMEK SERVICE AGREEMENT                 10/1/2015                 N/A              NA
   2.327   ZETA GLOBAL CORP                                    CUSTOMER                               MSA                                                       4/1/18                N/A              NA
   2.328   ZETA GLOBAL CORP                                    CUSTOMER                               SAS ORDER                                                 4/1/18                N/A              NA
   2.329   ZIMMERMAN NISSAN                                    CUSTOMER                               SERVICE AGREEMENT                                      8/1/2016                 N/A              NA




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 Fill in this information to identify the case:

 Debtor name: Sizmek Technologies, Inc.

 United States Bankruptcy for the District of: Southern New York
                                                                                                                                                                       Check if this is an
 Case number: 19-10974
                                                                                                                                                                       amended ling


O cial Form 206H
Schedule H: Codebtors

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the Additional Page to this page.

 1. Does the debtor have any codebtors?

        No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        Yes



 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors, Schedules D-G. Include all
 guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the creditor is listed. If the codebtor is liable on a debt to more than
 one creditor, list each creditor separately in Column 2.

   Column 1: Codebtor                                                                              Column 2: Creditor


   Name                            Mailing Address                                                Name                                                             Check all schedules
                                                                                                                                                                   that apply:

 2.1 POINT ROLL, INC.             401 PARK AVE., S., 5TH FLOOR, NEW YORK, NY                     CERBERUS BUSINESS FINANCE, LLC
                                                                                                                                                                        D
                                  10016
                                                                                                                                                                        E/F

                                                                                                                                                                        G



 2.2 POINT ROLL, INC.             401 PARK AVE., S., 5TH FLOOR, NEW YORK, NY                     SIZMEK FINCO, LLC (VECTOR CAPITAL
                                                                                                                                                                        D
                                  10016                                                          MANAGEMENT)
                                                                                                                                                                        E/F

                                                                                                                                                                        G



 2.3 SIZMEK DSP INC.              401 PARK AVE., S., 5TH FLOOR, NEW YORK, NY                     CERBERUS BUSINESS FINANCE, LLC
                                                                                                                                                                        D
                                  10016

                                                                                                                                                                        E/F

                                                                                                                                                                        G



 2.4 SIZMEK DSP INC.              401 PARK AVE., S., 5TH FLOOR, NEW YORK, NY                     SIZMEK FINCO, LLC (VECTOR CAPITAL
                                                                                                                                                                        D
                                  10016                                                          MANAGEMENT)
                                                                                                                                                                        E/F

                                                                                                                                                                        G



 2.5 SIZMEK INC.                  401 PARK AVE., S., 5TH FLOOR, NEW YORK, NY                     CERBERUS BUSINESS FINANCE, LLC
                                                                                                                                                                        D
                                  10016
                                                                                                                                                                        E/F

                                                                                                                                                                        G
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2.6 SIZMEK INC.        401 PARK AVE., S., 5TH FLOOR, NEW YORK, NYPg   48 of 50 FINCO, LLC (VECTOR CAPITAL
                                                                         SIZMEK
                                                                                                                       D
                       10016                                              MANAGEMENT)
                                                                                                                       E/F

                                                                                                                       G



2.7 SOLOMON            401 PARK AVE., S., 5TH FLOOR, NEW YORK, NY         CERBERUS BUSINESS FINANCE, LLC
                                                                                                                       D
ACQUISITION CORP.      10016
                                                                                                                       E/F

                                                                                                                       G



2.8 SOLOMON            401 PARK AVE., S., 5TH FLOOR, NEW YORK, NY         SIZMEK FINCO, LLC (VECTOR CAPITAL
                                                                                                                       D
ACQUISITION CORP.      10016                                              MANAGEMENT)
                                                                                                                       E/F

                                                                                                                       G



2.9 WIRELESS ARTIST    401 PARK AVE., S., 5TH FLOOR, NEW YORK, NY         CERBERUS BUSINESS FINANCE, LLC
                                                                                                                       D
LLC                    10016
                                                                                                                       E/F

                                                                                                                       G



2.10 WIRELESS ARTIST   401 PARK AVE., S., 5TH FLOOR, NEW YORK, NY         SIZMEK FINCO, LLC (VECTOR CAPITAL
                                                                                                                       D
LLC                    10016                                              MANAGEMENT)
                                                                                                                       E/F

                                                                                                                       G



2.11                   401 PARK AVE., S., 5TH FLOOR, NEW YORK, NY         CERBERUS BUSINESS FINANCE, LLC
                                                                                                                       D
WIRELESSDEVELOPER,     10016
INC.
                                                                                                                       E/F

                                                                                                                       G



2.12                   401 PARK AVE., S., 5TH FLOOR, NEW YORK, NY         SIZMEK FINCO, LLC (VECTOR CAPITAL
                                                                                                                       D
WIRELESSDEVELOPER,     10016                                              MANAGEMENT)
INC.
                                                                                                                       E/F

                                                                                                                       G



2.13 X PLUS ONE        401 PARK AVE., S., 5TH FLOOR, NEW YORK, NY         CERBERUS BUSINESS FINANCE, LLC
                                                                                                                       D
SOLUTIONS, LLC         10016
                                                                                                                       E/F

                                                                                                                       G



2.14 X PLUS ONE        401 PARK AVE., S., 5TH FLOOR, NEW YORK, NY         SIZMEK FINCO, LLC (VECTOR CAPITAL
                                                                                                                       D
SOLUTIONS, LLC         10016                                              MANAGEMENT)
                                                                                                                       E/F

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2.15 X PLUS TWO   401 PARK AVE., S., 5TH FLOOR, NEW YORK, NYPg   49 of 50 BUSINESS FINANCE, LLC
                                                                    CERBERUS
                                                                                                                 D
SOLUTIONS, LLC    10016
                                                                                                                 E/F

                                                                                                                 G



2.16 X PLUS TWO   401 PARK AVE., S., 5TH FLOOR, NEW YORK, NY        SIZMEK FINCO, LLC (VECTOR CAPITAL
                                                                                                                 D
SOLUTIONS, LLC    10016                                             MANAGEMENT)
                                                                                                                 E/F

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  Fill in this information to identify the case:

  Debtor name: Sizmek Technologies, Inc.

  United States Bankruptcy for the District of: Southern New York
                                                                                                                                                            Check if this is an
  Case number: 19-10974
                                                                                                                                                            amended ling


O cial Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors

 An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form for the schedules of assets and
 liabilities, any other document that requires a declaration that is not included in the document, and any amendments of those documents. This form must state the individual’s
 position or relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy
 case can result in nes up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

              Declaration and signature
  I am the president, another o cer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another individual serving as a
  representative of the debtor in this case.

  I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


       Schedule A/B: Assets–Real and Personal Property (O cial Form 206A/B)

       Schedule D: Creditors Who Have Claims Secured by Property (O cial Form 206D)

       Schedule E/F: Creditors Who Have Unsecured Claims (O cial Form 206E/F)

       Schedule G: Executory Contracts and Unexpired Leases (O cial Form 206G)

       Schedule H: Codebtors (O cial Form 206G)

       Summary of Assets and Liabilities for Non-Individuals (O cial Form 206Sum)

        Amended Schedule

       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (O cial Form 204)

        Other document that requires a
   declaration

I declare under penalty of perjury that the foregoing is true and correct.

Executed on              04/26/2019                                                           /s/ SASCHA WITTLER
                                                                                             Signature of individual signing on behalf of debtor
                                                                                              SASCHA WITTLER
                                                                                             Printed name
                                                                                              CHIEF FINANCIAL OFFICER
                                                                                             Position or relationship to debtor
